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13
                           UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
15
16 ANYA ROBERTS,                     ) CASE NO. 2:23-CV-10492-AB-AGR
17                                   )
                 Plaintiff,          ) FIRST AMENDED COMPLAINT FOR
18                                   ) DAMAGES FOR:
19 v.                                )
                                     )   1) Violation of 18 U.S.C. § 1591
20 EXP REALTY, LLC, EXP WORLD        )   2) Violation of 18 U.S.C. § 1591
21 HOLDINGS, INC., MICHAEL L.        )   3) Violation of 18 U.S.C. § 1595
   BJORKMAN; DAVID S. GOLDEN; )          4) Sexual Battery
22
   BRENT GOVE, EMILY KEENAN,         )   5) Civil Battery
23 GLENN SANFORD; MICHAEL            )   6) Intentional Infliction of Emotional
24 SHERRARD, and DOES 1-10,          )      Distress
                                     )   7) Negligent Hiring, Retention, and
25               Defendants.         )      Supervision
26 _________________________________ )   8) Tortious Interference with
                                            Contractual Relations
27
28                                              DEMAND FOR JURY TRIAL


                                                1

                             FIRST AMENDED COMPLAINT FOR DAMAGES
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 1           PLAINTIFF ANYA ROBERTS, complaining of DEFENDANTS eXp REALTY,
 2 LLC; eXp WORLD HOLDINGS, INC., hereinafter referred to collectively as “eXp” or “eXp
 3
     REALTY”; MICHAEL L. BJORKMAN; DAVID S. GOLDEN; GLENN SANFORD;
 4
 5 BRENT GOVE; EMILY KEENAN, MICHAEL SHERRARD; and DOES 1-10,
 6
     (hereinafter referred to as “Defendants”) by her attorneys Cohen Hirsch, LP, and Lenze
 7
 8 Lawyers, PLC, respectfully sets forth and alleges the following, upon information and
 9 belief:
10
                                 PRELIMINARY STATEMENT
11
12           1.   This case involves “bad actors” that drugged and sexually assaulted their
13
     coworkers, and a company, eXp, who at worst knew of, encouraged, and permitted
14
15 abhorrent behavior; or at the least, recklessly disregarded, and willfully turned a blind eye
16 to “things that are on the wrong side of the law”. 1
17
             2.   The detestable actions that are the subject of this Complaint (the drugging and
18
19 sexual assault of agents) were rampant within eXp culture; they occurred during eXp
20
     events, at agent sponsored events, as well as at events where eXp was in attendance; it
21
22 permeated the company’s culture.
23           3.   The behavior that is the subject of this complaint should have been known to
24
     the named Defendants in this action prior, during, and after to the hiring of DEFENDANT
25
26 GOLDEN and DEFENDANT BJORKMAN and was clearly apparent as early as October
27
28 1 Glenn Sanford, eXp World Holdings, Q3 2023 Results Call with Investors, November 2,
     2023.
                                                   2

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 1 2, 2019 when an Agent overdosed at eXpCon in front of DEFENDANT GOLDEN and
 2 Rosie Rodriguez, both Alpha Agents (defined below).
 3
           4.     On October 6, 2020 DEFENDANT eXp received a memo with granular detail
 4
 5 describing the previous blatant, overt, and well-known behavior of DEFENDANT
 6
     BJORKMAN and DEFENDANT GOLDEN who would routinely invite agents to
 7
 8 recruiting parties where they would drug and assault individuals—under the guise of Agent
 9 Attraction. This information was provided by an agent, who herself had been drugged by
10
     DEFENDANTS BJORKMAN AND GOLDEN and described similar events and behavior
11
12 to numerous other individuals.2
13
           5.     This Agent Attraction included the enticement of both new recruits and the
14
                                                                           3
15 poaching of agents who had already signed with other Sponsor Agents.
16         6.     Plaintiff Roberts, fell prey to poaching by DEFENDANT GOLDEN and
17
     DEFENDANT GOVE in their six-week aggressive pursuit of Ms. Roberts whereby
18
19 DEFENDANTS GOLDEN AND GOVE explained to her that they would exponentially
20
     elevate her career at eXp.
21
22
23 2 This Memorandum was in addition to the knowledge DEFENDANT eXp had gained in
24 or around September of 2020 from an internal investigation following a Facebook post by
     Christy Lundy setting forth this abhorrent behavior, and from multiple conversations with
25 women confirming the drugging and assaulting by DEFENDANTS GOLDEN and
26 BJORKMAN.
     3
27   Poaching, or attempting to/or signing an agent from another Sponsor Agent’s downline,
   though against eXp policy, was routinely done (and approved) because agents needed a
28 certain number of Qualified Agents to open additional downlines. Discussed in more detail
   infra.
                                                   3

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 1         7.     Shortly after this poaching process and enticement began, DEFENDANT
 2 GOLDEN was drugging, assaulting, and love bombing Ms. Roberts (as this was part of the
 3
     modis operandi of DEFENDANTS GOLDEN and BJORKMAN).
 4
 5         8.     In April 2022, Felicia “Fee” Gentry, an eXp Realty Board Member (“The
 6
     Board Member”) addressed eXp Realty’s failure to take any action to curb the sexual
 7
 8 assault incidents that were occurring at eXp Realty. She explained to the Board that a
 9 reporting plan, enforceable policies and procedures, and an independent investigation were
10
     all necessary based on the complaints of multiple women who had been drugged and
11
12 assaulted at both conferences and recruiting events.
13
           9.     On par with DEFENDANT eXp’s treatment of complaints related to sexual
14
15 harassment, sexual assault, drug use, and the like, DEFENDANT eXp REALTY ignored
16 Ms. Gentry’s request that DEFENDANT eXp take action and ignored her suggested
17
     solutions.
18
19         10.    Furthermore, DEFENDANT eXp CEO, GLENN SANFORD, expressed to
20
     Ms. Gentry that this was not eXp’s problem, and the arrest of DEFENDANT BJORKMAN
21
22 and the numerous complaints made against DEFENDANT BJORKMAN and
23 DEFENDANT GOLDEN for illegal behavior that took place at DEFENDANT eXp
24
     conferences and recruiting events, would be simply a three to five day newspaper
25
26 phenomenon which would then disappear.
27
           11.    In complete contrast to DEFENDANT SANFORD’s believing the incidents
28
     would of little impact or import on DEFENDANT eXp, Ms. Roberts will forever be
                                                  4

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 1 impacted by the events described in this complaint. In fact, to this day, DEFENDANT
 2 GOVE continues to attempt to harm and impact Ms. Roberts by communicating with her
 3
     downline about this case.
 4
 5                                         JURISDICTION
 6
           12.    This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1595, which
 7
 8 provides the district courts of the United States jurisdiction over violations of 18 U.S.C. §
 9 1591.
10
           13.    This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332, which
11
12 provides that district courts of the United States have jurisdiction over cases between a
13
     citizen of a state and a subject of a foreign state if the amount in controversy exceeds
14
15 $75,000.
16         14.    This Court also has supplemental jurisdiction over the remaining claims
17
     pursuant to 28 U.S.C. § 1367(a), as those claims form part of the same case or controversy
18
19 as the related federal claims over which this Court has original jurisdiction.
20
           15.    This Court is “an appropriate district court of the United States” in accordance
21
22 with 18 U.S.C. §1595.
23         16.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), as
24
     DEFENDANT MICHAEL L. BJORKMAN resided in this district and division at all times
25
26 complained of herein.
27
28


                                                    5

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 1                                         THE PARTIES
 2         17.    PLAINTIFF ANYA ROBERTS is a citizen of Florida and is a licensed real
 3
     estate agent with DEFENDANT eXp REALTY.
 4
 5         18.    DEFENDANT eXp WORLD HOLDINGS, INC. is a corporation duly
 6
     organized and existing under and by virtue of the State of Delaware and has its principal
 7
 8 place of business at 2219 Rimland Drive, Suite 301, Bellingham, Washington 98226.
 9         19.    DEFENDANT eXp REALTY, LLC is a corporation duly organized and
10
     existing under and by virtue of the State of Washington has its principal place of business
11
12 at 2219 Rimland Drive, Suite 301, Bellingham, Washington 98226.
13
           20.    DEFENDANT MICHAEL BJORKMAN is a citizen of the State of California
14
15 and resides in Ventura County, CA; he was a former real estate agent with DEFENDANT
16 eXp REALTY, as well as an “Influencer” (defined infra) at DEFENDANT eXp REALTY,
17
     and upon information and belief, is a current Revenue Share Participant (defined infra)
18
19 with DEFENDANT eXp REALTY. DEFENDANT GOLDEN is DEFENDANT
20
     BJORKMAN’s Sponsor Agent.
21
22         21.    DEFENDANT DAVID S. GOLDEN is a citizen of the State of Nevada and a

23 former real estate agent with DEFENDANT eXp REALTY; he is also an “Influencer”
24
     (defined infra) at DEFENDANT eXp REALTY and on information and belief is still a
25
26 current Revenue Share Participant (defined infra) with DEFENDANT eXp REALTY.
27
28


                                                   6

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 1         22.   DEFENDANT GLENN SANFORD is a citizen of the State of Washington,
 2 the Founder of eXp Realty, and is Agent #1 in the Revenue Share Program (defined infra)
 3
     with DEFENDANT eXp REALTY.
 4
 5         23.   DEFENDANT BRENT GOVE is a citizen of the State of California; he is a
 6
     real estate agent with DEFENDANT eXp REALTY, a top “Influencer” (defined infra) at
 7
 8 DEFENDANT eXp REALTY, and a current Revenue Share Participant (defined infra)
 9 with DEFENDANT eXp REALTY.
10
           24.   DEFENDANT EMILY KEENAN is a citizen of Arizona.
11
12         25.   DEFENDANT MICHAEL SHERRARD is a citizen of Canada and a real
13
     estate agent with DEFENDANT eXp REALTY; he is a top “Influencer” (defined infra) at
14
15 DEFENDANT eXp REALTY, and a current Revenue Share Participant (defined infra)
16 with DEFENDANT eXp REALTY. DEFENDANT SHERRARD is a current Revenue
17
     Share Participant (defined infra) and regularly conducts business throughout the United
18
19 States to recruit more members into eXp REALTY’S Revenue Share pyramid.
20
           26.   The true names and capacities, whether corporate, associate, individual or
21
22 otherwise of Defendants DOES 1 through 10, inclusive, are unknown to PLAINTIFF, who
23 therefore sues said Defendants by such fictitious names. Each of the DEFENDANTS
24
     designated herein as a DOE is legally responsible in some manner for the events and
25
26 happenings herein referred to and caused injuries and damages proximately thereby to
27
     PLAINTIFF, as herein alleged. PLAINTIFF will seek leave to amend this Complaint to
28
     show their names and capacities when the same have been ascertained.
                                                  7

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 1         27.    Under the TVPRA, Defendants are vicariously liable and jointly and severally
 2 liable for all damages a jury awards to Plaintiff for past and future losses she suffered as a
 3
     proximate result of her sexual exploitation and trafficking.
 4
 5                           GENERAL FACTUAL ALLEGATIONS
 6
                                  eXp’s Revenue Share Pyramid4
 7
 8         28.    eXp is a multilevel marketing company made up of “Tiers” under each Agent,
 9 otherwise known as each Agent’s Revenue Share Group.
10
           29.    A Tier is defined by eXp as follows:
11
12         Tier: The hierarchy of eXp Agents that are sponsored in succession beginning with
13
           the Contractor [Agent] and each group of eXp Agents thereafter, as follows:

14                  Tier 1: the group of eXp Agents sponsored by the Contractor.
15                  Tier 2: the group of eXp Agents sponsored by Tier 1 eXp Agents.
                    Tier 3: the group of eXp Agents sponsored by Tier 2 eXp Agents.
16
                    Tier 4: the group of eXp Agents sponsored by Tier 3 eXp Agents.
17                  Tier 5: the group of eXp Agents sponsored by Tier 4 eXp Agents.
18                  Tier 6: the group of eXp Agents sponsored by Tier 5 eXp Agents.
                    Tier 7: the group of eXp Agents sponsored by Tier 6 eXp Agents.
19
20         30.    A Revenue Share Group is defined by eXp as follows:
21
           Revenue Share Group: A Contractor’s Revenue Share Group consists of the eXp
22         Agents he or she personally sponsors to join the sales ranks of the Company and
23         those eXp Agents sponsored thereafter as a result of Contractor’s [Agent’s] original
           sponsorship(s).
24
25
26
     4
27  All “Key Terms” and their definitions were provided by DEFENDANT eXp Realty to the
   SEC in 2020:
28 https://www.sec.gov/Archives/edgar/data/1495932/000155837020009246/expi-
   20200630xex10d1.htm
                                                    8

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 1         31.   Each Tier level is unlocked for purposes of sharing revenue only when there
 2 are sufficient Front-Line Qualifying Agents in the previous level. Front-Line Qualifying
 3
     Active Agent is defined by eXp as follows:
 4
 5         Front-Line Qualifying Active (FLQA): A Front-Line Qualifying Active agent is a
 6         licensed agent who has been personally sponsored into eXp Realty and that has been
           active and productive with the Company during the prior rolling six- month period
 7         by closing: 1) a minimum of two full credit Sales, or the equivalent; or 2) $5,000 in
 8         Gross Commission Income. All FLQA agents are Tier 1 eXp Agents that have been
           directly sponsored by the Contractor; however, not all Tier 1 eXp Agents sponsored
 9         by Contractor are FLQA Agents.
10
           32.   Participating Agents receive income from the Revenue Share Plan as defined
11
12 by eXp as follows:
13
           Revenue Share Plan The Company’s Sustainable Revenue Share Plan exists to
14         provide a financial incentive to the real estate licensees with the Company (“eXp
15         Agents”) who have helped grow company sales through the agent ranks of eXp
           Realty (defined below).
16
17         33.   Revenue Share is defined by eXp as follows:
18         Revenue Share: The Revenue Share Plan is paid out as a percentage of AGCI
19         which is the GCI adjusted by a factor and calculated each month in an effort to
           achieve and pay out 50% of Company Dollar in the overall monthly Revenue Share
20
           Plan in the form of revenue share. Actual payouts on individual Transactions can be
21         higher or lower than the 50% payout target depending on how many FLQAs are
22         counted on each Tier. As a Contractor encourages fellow active and productive
           agents to join the ranks of the Company and the Contractor is named as the sponsor
23         of those new eXp Agents, the Contractor will begin earning the standard Tier 1 3.5%
24         of AGCI revenue share amount on the Qualifying Sale Transactions of the
           Contractor’s Tier 1 group of eXp Agents. As the Contractor’s Tier 1 group of eXp
25         Agents (Contractor’s direct sponsored agents) become sponsors themselves of more
26         new eXp Agents, each new eXp Agent added to the Contractor’s Revenue Share
           Group can potentially expand and unlock the Contractor’s ability to earn more
27
           revenue share in two different ways: 1) eXpansion Share; and 2) eXponential Share.
28


                                                  9

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 1          34.   eXp defines the Qualifications to Receive Revenue as follows:
 2           Qualifications To Receive Revenue: Share In order to be qualified to receive
 3          revenue share under both the eXpansion Share and the eXponential Share Contractor
            must be Revenue Share Eligible on the date when a Qualifying Sale Transaction
 4
            closes, and Contractor’s license must be active and affiliated with eXp Realty in
 5          every state that Contractor engages in activities requiring a real estate license.
 6
            35.   eXp defines the Qualifications to Receive Revenue as follows:
 7
 8          Revenue Share Vesting Policy: To qualify for revenue share vesting, Contractor
            must satisfy the following conditions: 1) hold a current real estate license and be
 9          authorized to receive commissions; 2) be affiliated with the Company as a
10          Contractor/real estate agent for not less than 36 consecutive months; and 3) and meet
            all requirements under the Revenue Share Eligible definition above for not less than
11
            36 consecutive months.
12
13
                                 eXp’s Sixty-One (61) Alpha Agents

14          36.   While eXp routinely boasts its agent count nearing 100,000 agents, roughly
15
      only a quarter of eXp Realty’s agents (around 25,000) participate in eXp’s Revenue Share
16
17 Plan which generates approximately $28,000,000 a month in Revenue Share income
18 (“Participating Agents”).
19
            37.   As described above, to maximize income from DEFENDANT eXp’s Revenue
20
21 Share Plan (during the relevant time periods) a Participating Agent must “unlock” each of
22
      the Seven (7) Tiers in the Revenue Share Plan. “Unlocking” a level involves having the
23
24 required number of Front Line Qualified Active Agents.
25          38.   As shown in the Revenue Share Chart below, an Agent must have the required
26
      number of FLQAs to receive the full financial benefit of the Revenue Share Plan:
27
28


                                                   10

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12
13            39.   Nearly half of the monthly income generated from the Revenue Share Plan
14
      ends up in the pockets of less than 0.3% of eXp Realty’s Participating Agents, also referred
15
16 to as its “Alpha Agents.”
17            40.   An Alpha Agent is an agent who has at a minimum either 1,000 agents and 25
18
      FLQAs or 2,000 agents and 20 FLQAs in their Revenue Share Group.
19
20            41.   On average, Alpha Agents receive $215,000 a month in Revenue Share
21
      Income. The other 97.7% of the Participating Agents receive, on average, $625 a month.5
22
23            42.   In 2022, DEFENDANT eXp Realty had only sixty-one (61) Alpha Agents.
24
25
26
27
      5
          eXp also has approximately 105 Beta Agents with a monthly average Revenue Share
28 income of $32,000. For all other agents, who do not qualify as an Alpha or Beta agent, the
      average monthly Revenue Share is less than $500 per Participating Agent.
                                                    11

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 1          43.   Ranking its agents by monthly Revenue Share income, DEFENDANT GOVE
 2 sits in the number two Alpha Agent position, averaging close to $1,000,000 a month in
 3
      Revenue Share Income.6
 4
 5          44.   Irrespective of whether an Agent receives any Revenue Share Income or
 6
      commissions, under their contractual terms they are still required to pay DEFENDANT
 7
 8 eXp a monthly fee in the amount of $250.
 9          45.   On average, approximately 75% of the Participating Agents are upside down –
10
      meaning they are paying more to DEFENDANT eXp each month than they are receiving
11
12 in Revenue Share.
13
            46.   Alpha Agents include DEFENDANTS BRENT GOVE, GLENN SANFORD,
14
15 DAVID GOLDEN, and MICHAEL SHERRARD.
16          47.   Alpha Agents are invited to special meetings and receive special benefits
17
      which typically include speaking opportunities.
18
19          48.   It is widely known amongst the Agents and staff of DEFENDANT eXp Realty
20
      that DEFENDANT eXp Realty has two sets of rules, one set of rules for its Alpha Agents
21
22 and another set of rules for everyone else. One set of rules that do not apply to Alpha
23 Agents relate to DEFENDANT eXp’s Agent Attraction Prohibited Practices:
24
25
26
      6
27   The majority of Agents at eXp make zero income from revenue share at all which vastly
   contrasts to the Revenue Share of those at the Top of the Pyramid. Those at the top
28 regularly espouse that those at the bottom can build and obtain great wealth through Agent
   Attraction; however, this appears to be highly unlikely due to the Pyramid parameters.
                                                   12

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17
18          49.   DEFENDANT eXp’s Alpha Agents, like DEFENDANT GOVE, have not
19
      been required to abide by DEFENDANT eXp’s policies and procedures; complaints made
20
21 against DEFENDANT eXp’s Alpha Agents are routinely ignored.
22          50.   For example, it was DEFENDANT eXp Realty’s policy to prohibit Revenue
23
      Share Agents from disclosing the amount they made monthly from its Revenue Share
24
25 program. However, this rule did not apply to Alpha Agent, DEFENDANT GOVE, as it
26
      was known by DEFENDANT eXp that he was notorious for flashing around screenshots of
27
28


                                                13

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 1 his monthly Revenue Share income as a way to entice agents to join, and even more
 2 importantly, to stay, in his downline.
 3
           51.   For example, on February 22, 2020, DEFENDANT GOVE shared his
 4
 5 monthly Revenue Share income to Plaintiff. 7
 6
 7
 8
 9
10
11
12
13
14
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21
           52.   Similarly, on a publicly available YouTube video showcasing DEFENDANT
22
23 GOVE and DEFENDANT GOLDEN, DEFENDANT GOVE shared that his monthly
24 Revenue Share income in 2020 was over $300,000.
25
26
27
28 7 A similar screenshot was sent to Tami Sims, a Plaintiff in the Acevedo matter, by
      DEFENDANT BJORKMAN during her recruitment to eXp.
                                                  14

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13
            53.   Under eXp’s Agent Attraction Prohibited Practices Guide, Agents are
14
15 prohibited from using recruitment companies or other similar third-party services to recruit
16
      agents.
17
            54.   DEFENDANT eXp knew that Alpha Agents, including DEFENDANT
18
19 GOLDEN, were using prohibited third-party services, but because they were Alpha
20
      Agents, the rules did not apply to them. This use of third-party services by DEFENDANT
21
22 GOLDEN specifically was identified to DEFENDANT eXp in the Memorandum from an
23 Agent to DEFENDANT eXp on October 6, 2020.
24
            55.   Critically, under DEFENDANT eXp’s Agent Attraction Prohibited Practices
25
26 Guide, agents are forbidden from recruiting eXp agents away from their current Sponsor
27
      Agents (poaching as defined supra).
28


                                                 15

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 1            56.   The prohibition on this practice of poaching other agents from their current
 2 Sponsor Agents was not enforced when it came to the tactics of DEFENDANT GOVE and
 3
      DEFENDANT GOLDEN.
 4
 5            57.   This poaching was allowed when it financially and otherwise benefited
 6
      DEFENDANT GOVE, DEFENDANT SANFORD, and DEFENDANT eXp. The high-
 7
 8 pressure poaching of Ms. Roberts by DEFENDANT GOVE and GOLDEN began
 9 approximately a year after Ms. Roberts joined eXp and lasted for approximately six weeks
10
      after the first time Ms. Roberts met DEFENDANT GOLDEN.
11
12            58.   When Ms. Roberts’ business partner definitively confirmed the poaching
13
      would not be successful, and communicated as much to the DEFENDANT GOLDEN, i.e.
14
15 that they would not switch Sponsor Agents to DEFENDANT GOLDEN, DEFENDANT
16 GOLDEN gave up his efforts which included the pursuing, drugging, and assaulting of Ms.
17
      Roberts.
18
19                     DEFENDANT BRENT GOVE’S INFLUENCE AT eXp
20
              59.   DEFENDANT GOVE’s influence within eXp cannot be overstated. He has
21
22 the largest Revenue Share Group in eXp. DEFENDANT GOVE and his downline are
23 responsible for the majority of income in DEFENDANT eXp REALTY’S Revenue Share
24
      Plan.
25
26            60.   For years, DEFENDANT GOVE has traveled around the country, appearing
27
      at conferences, on podcasts, in YouTube videos and on webinars, teaching real estate
28


                                                     16

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 1 agents how he makes hundreds of thousands of dollars a month through passive income
 2 through DEFENDANT eXp’s Revenue Share plan.
 3
            61.    DEFENDANT GOVE also teaches eXp Agents how to recruit and sponsors
 4
 5 DEFENDANT eXp’s biggest Recruiting Events.
 6
            62.    At DEFENDANT GOVE’S Recruiting Events, agents are encouraged to share
 7
 8 rooms with other agents.
 9          63.    Also, at DEFENDANT GOVE’S Recruiting Events, DEFENDANT GOVE
10
      hosts lavish parties that are filled with beautiful young women, copious amounts of
11
12 unlimited free alcohol, as well as drugs.
13
            64.    DEFENDANT GOVE personally trained DEFENDANT GOLDEN and
14
15 DEFENDANT BJORKMAN on how to host Recruiting Events, and they modeled their
16 own Recruiting Events off Defendant Gove’s Recruiting Events.
17
                               SPECIFIC FACTUAL ALLEGATIONS
18
19                     The Initial Recruitment of Ms. Roberts into eXp Realty
20
            65.    Ms. Roberts is a beautiful, charming, articulate, and intelligent woman who
21
22 perfectly fit the mold of DEFENDANT eXp’s highly valued image of success, which
23 includes beautiful people, fancy things, and wealth, i.e., vacation homes, suites, parties,
24
      yachts, and fast cars.
25
26          66.    Prior to meeting DEFENDANTS, Ms. Roberts had a successful real estate
27
      career selling real estate in her market with ReMax.
28


                                                   17

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 1          67.   Beginning in 2018, Ms. Roberts was inundated with social media posts about
 2 joining eXp REALTY.
 3
            68.   In response to these recruiting efforts, on October 22, 2018, Ms. Roberts
 4
 5 traveled to New Orleans, Louisiana to attend EXPCON; she stayed until October 24, 2018.
 6
            69.   DEFENDANT eXp REALTY paid for all of Ms. Roberts’ expenses for
 7
 8 EXPCON; she was provided complimentary dinners, and she attended multiple one-on-one
 9 high-pressure meetings with some of DEFENDANT eXp REALTY’s top recruiting Alpha
10
      Agents (“Influencers”) recruiting her to join eXp REALTY.
11
12          70.   DEFENDANT GOVE, an Alpha Agent, was personally involved in the high-
13
      pressure recruitment effort of Ms. Roberts.
14
15          71.   One of the strongest pitches made to Ms. Roberts was that by joining
16 DEFENDANT eXp REALTY, she would be entering one of the top levels and strongest
17
      downlines in DEFENDANT eXp’s multi-level marketing Revenue Share Plan pyramid
18
19 (i.e. DEFENDANT GOVE’s downline).8
20
            72.   As her family’s breadwinner, one of the main reasons Ms. Roberts was
21
22 interested in joining DEFENDANT eXp REALTY was so that she could participate in its
23
24
25
      8
26   DEFENDANT eXp REALTY maintains a revenue-sharing plan whereby each of its
   agents and brokers participate in, and can receive monthly and annual residual overrides on
27
   the gross commission income resulting from transactions consummated by agents and
28 brokers who they have attracted to eXp REALTY.


                                                    18

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 1 Revenue Share Program by recruiting agents, and she could obtain eXp stock options, both
 2 of which would allow her to receive “passive income.”
 3
            73.    As a result of these promises and recruiting efforts, in December 2018,
 4
 5 PLAINTIFF Roberts officially joined DEFENDANT eXp and named Alpha Agent Chris
 6
      Bear as her Sponsor Agent. 9
 7
 8          74.    Ms. Robert’s “upline” at eXp is as follows (the position directly above her in
 9 the MLM pyramid is her sponsor Chris Bear listed below in the Tier 1 position):
10
                   Level     eXp Sponsor Agent            eXpansion      eXponential
11
                                                          Share % of     Share % of
12                                                        AGCI           AGCI
13                 TIER 1    Chris Bear                   ///            3.5%
                   TIER 2    Cliff Freeman                .2%            3.8%
14                 TIER 3    Brent Gove                   .1%            2.4%
15                 TIER 4    Sheila Fejeran               .1%            1.4%
                   TIER 5    Jennifer Vaughan Flick       .1%            0.9%
16
                   TIER 6    Gene Frederick               .5%            2.0%
17                 TIER 7    Elizabeth Riley              .5%            4.5%
18
19          75.    Ms. Roberts selected Chris Bear as her Sponsor Agent because he promised to
20
      support her and to help her develop her downline, as well as her real estate business.
21
22          76.    Ms. Roberts continued to excel in selling real estate as a top agent in her
23
      region.
24
25
26
27 9
    Chris Bear is an Alpha Agent who lives in Brevard County, the same county in which
28 Ms. Roberts resided.


                                                     19

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16
            77.   DEFENDANT GOVE saw Ms. Roberts’ talent as a top real estate agent and
17
18 recognized she had the “it” factor to become an Alpha Agent, as such, he personally
19
      invited her to attend the Freedom Summit in Puerto Vallarta.
20
21          78.   Based on her proven track record, Ms. Roberts believed she had what it took

22 to become an Alpha agent and expressed interest in doing so, but due to the fact she and
23
      Chris Bear were recruiting in the same geographic region, she lacked the aid from an
24
25 Alpha Agent necessary to become an Alpha herself.
26
            79.   After coming to the conclusion that her current Sponsor Agent, Chris Bear,
27
28 had no interest in her becoming an Alpha Agent (Ms. Roberts would take away from his


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 1 own ability to get sufficient FLQAs/ “TIER ONE” agents needed to unlock his seven (7)
 2 TIERS due to them competing in the same geographic region), Ms. Roberts reached out to
 3
      Chris Bear’s Sponsor, Alpha Agent Cliff Freeman, for assistance.
 4
 5          80.    Cliff Freeman explained to Ms. Roberts that to become an Alpha Agent, she
 6
      would have to change her geographical territory (fish in a different pond), if she wanted to
 7
 8 become an Alpha Agent because Chris Bear was not willing to share Brevard County.
 9          81.    This advice frustrated Ms. Roberts in that she was getting more and more
10
      pressure by DEFENDANT GOVE and DEFENDANT eXp REALTY to give up her sales
11
12 career in order to completely focus on recruiting other agents to join eXp REALTY.
13
            82.    At each eXp REALTY event Ms. Roberts attended, rather than educating
14
15 attendees on the real estate trade, DEFENDANT eXp REALTY focused mostly on Agent
16 Attraction and how to attract more agents to join eXp REALTY’s downline;
17
      DEFENDANT GOVE espoused this as gospel.
18
19          83.    DEFENDANT eXp REALTY, DEFENDANT SANFORD, and
20
      DEFENDANT GOVE stressed at these conferences that the sole path to success at eXp
21
22 REALTY was not by selling real estate, but rather, by attracting more people to join eXp
23 REALTY. In essence, DEFENDANT GOVE, DEFENDANT SANFORD, and
24
      DEFENDANT eXp REALTY’s focus was on recruitment and the money that could be
25
26 made by recruiting others, rather than by simply selling real estate.
27
            84.    Ms. Roberts felt stuck, and DEFENDANT GOLDEN and DEFENDANT
28
      GOVE offered her a solution.
                                                    21

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 1     DEFENDANT GOVE’S FREEDOM SUMMIT: PUERTO VALLARTA, MEXICO
                            February 4-10, 2020
 2
 3
            85.    One of DEFENDANT GOVE’s signature recruiting events for eXp is the
 4
 5 Freedom Summit.
 6
            86.    This event was held in Puerta Vallarta, Mexico, in February 2020.
 7
 8          87.    The purpose of the event is threefold: to recruit new agents to eXp, to teach
 9 existing agents how to be better recruiters, and to showcase successful Alpha Agents at
10
      eXp in order to motivate other agents to recruit more; as such, DEFENDANT eXp
11
12 REALTY was the sponsor of the event and contributed a significant amount of money to
13
      the conference.
14
15          88.    In one of the recruiting videos designed to convince real estate agents to
16 attend this event, DEFENDANT GOVE told the audience that “Proximity is Power”.
17
            89.    DEFENDANT GOVE’s co-sponsor of the event, the number one top grossing
18
19 Alpha Agent at eXp, Rob Flick, explained that the main reason to go to this event is that
20
      “you're away from your work environment. People relax, they let go.” The goal of the
21
22 event is “getting to know other people on a personal level.”
23          90.    Flick further explained that those people attending the event would be given
24
      aids for recruitment, including, but not limited to, recruitment “scripts and dialogues and
25
26 talking [points] and things to be able to utilize in different situations for whether it's
27
      individual agents, Team agents, offices, whatever that we've used that have worked very
28
      significantly for some of us that have done that quite a bit. That's that's [sic] a really big
                                                      22

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 1 deal.” “We are going to talk about building wealth”; at eXp this translates into building a
 2 downline.
 3
            91.   On February 4, 2020, after receiving multiple personal invitations and
 4
 5 personal text messages from DEFENDANT GOVE, Ms. Roberts and her business partner
 6
      flew to Puerto Vallarta, Mexico to attend DEFENDANT GOVE’s Freedom Summit.
 7
 8          92.   Based on the numerous statements made by DEFENDANT GOVE, Ms.
 9 Roberts understood it was very important that she attend the conference in order to meet,
10
      and learn from, Alpha Agents at eXp REALTY, as well as to get resources for recruitment,
11
12 which, according to DEFENDANT GOVE, were essential to her success at eXp REALTY.
13
            93.   On February 8, 2020, Ms. Roberts attended one of DEFENDANT GOVE’s
14
15 FREEDOM SUMMIT signature events - a sunset cruise across Banderas Bay to Las
16 Caletas, a beach only accessible by boat. Included in this event was a lavish dinner, all you
17
      can drink alcoholic beverages, and entertainment.
18
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12                                       Brent Gove on the Boat
13
            94.   Nearly all of eXp REALTY’s top executives and top Alpha Agents, including
14
15 DEFENDANT GOLDEN, his girlfriend DEFENDANT KEENAN, DEFENDANT
16
      BJORKMAN, and DEFENDANT GOVE were in attendance, which further validated the
17
      main reason Ms. Roberts decided to attend this special event -- she believed it was
18
19 important for her career to “rub shoulders” as DEFENDANT GOVE often lauds, with the
20
      “Who’s Who” of eXp REALTY due to the fact she had witnessed a situation where a
21
22 woman in her downline had rebuffed advances from an Alpha Agent and was ostracized.
23          95.   After the private island event, DEFENDANT GOVE, along with his wife and
24
      children, returned to the hotel on the private chartered boat, as did DEFENDANT
25
26 KEENAN, DEFENDANT GOLDEN, and Ms. Roberts, amongst others.
27
            96.   While on the way back to the hotel, DEFENDANT KEENAN, invited Ms.
28
      Roberts to come sit at the back of the boat so that Ms. Roberts could personally meet
                                                    24

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 1 DEFENDANT GOLDEN—an invitation Ms. Roberts was excited to get because she knew
 2 that DEFENDANT GOLDEN was one of eXp REALTY’s top Alpha Agents.
 3
            97.    In fact, earlier that day while on stage at the conference, DEFENDANT
 4
 5 GOVE, personally introduced DEFENDANT GOLDEN to the attendees, including Ms.
 6
      Roberts, describing DEFENDANT GOLDEN’S career as a “Cinderella Story”, much like
 7
 8 his own.
 9          98.    After being introduced and endorsed on stage by DEFENDANT GOVE,
10
      DEFENDANT GOLDEN spoke for over twenty minutes about DEFENDANT
11
12 GOLDEN’S rags to riches success story with eXp REALTY.
13
            99.    Ms. Roberts believed DEFENDANT GOLDEN to be a safe person since
14
15 DEFENDANT eXp REALTY and DEFENDANT GOVE held DEFENDANT GOLDEN
16 out to be one of eXp REALTY’s leaders as evidenced by his speaking engagement at
17
      DEFENDANT GOVE’S Freedom Summit. 10
18
19
20
21
22
23
24
25 10
        Comments, such as the following statement made by Alpha Agent Rick Geha, were often
26 used by male Alpha Agents to describe DEFENDANT GOLDEN at eXp events and
27 recruitment activities: “I think David Golden is a Rockstar, and he looks like a Rockstar,
      always wearing sunglasses, and he’s in good shape, he has an attractive girlfriend, it’s
28 almost like he is a movie star, and I’m just so happy we are working together”. Stacie
      Koroly interview with Rick Geha, 2021.
                                                    25

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                      DEFENDANT GOVE greeting DEFENDANT GOLDEN on stage
11
12          100.   When DEFENDANT KEENAN asked Ms. Roberts to come meet
13
      DEFENDANT GOLDEN on the boat, Ms. Roberts, due to DEFENDANT GOLDEN’S
14
15 position within eXp Realty, was starstruck. In fact, DEFENDANT GOVE had been
16 overheard on the boat saying that he vicariously lived through DEFENDANT GOLDEN.
17
            101. While Ms. Roberts was talking to DEFENDANT GOLDEN on the boat,
18
19 DEFENDANT KEENAN placed a pill into Ms. Roberts’ mouth, telling her not to worry, it
20
      was just an Adderall, then further stated it simply would give her energy; soon thereafter,
21
22
      Ms. Roberts blacked out and does not have any personal recollection of what happened for

23 the remainder of the evening.
24
            102. Ms. Roberts later learned she was acting wildly inappropriate for being at a
25
26 family-attended business event as she was publicly seen making out with DEFENDANT
27 KEENAN in front of the Gove family; needless to say, she was mortified.
28


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 1          103. Ms. Roberts later also learned, that upon exiting the boat, she got separated
 2 from her friends, and instead ended up with DEFENDANT GOLDEN and DEFENDANT
 3
      KEENAN. Ms. Roberts friends next saw her at the hotel bar after having been frantically
 4
 5 searching for her. At that time, Ms. Roberts had no independent recollection of that night.
 6
      Ms. Roberts now believes she was sexually assaulted by DEFENDANT GOLDEN,
 7
 8 DEFENDANT KEENAN, and others that evening.
 9          104. The next morning, DEFENDANT KEENAN contacted Ms. Roberts to let her
10
      know that she had her credit card and asked her to come later that day to her hotel room,
11
12 which she was sharing with DEFENDANT GOLDEN, to retrieve the card. Ms. Roberts
13
      has no idea how DEFENDANT KEENAN got her credit card.
14
15          105. That same morning, DEFENDANT KEENAN told another attendee that she
16 had “pulled a girl for the first-time last night”; the girl that was drugged and “pulled” was
17
      Ms. Roberts.
18
19          106. Not knowing at the time that she had been drugged the night before by
20
      DEFENDANT KEENAN, Ms. Roberts went to DEFENDANT KEENAN AND
21
22 GOLDEN’s hotel room to retrieve her credit card later that day.
23          107. DEFENDANTS KEENAN AND GOLDEN were having a drink in their hotel
24
      room when Ms. Roberts arrived, and they offered Ms. Roberts a drink.
25
26          108. Soon after having that drink, Mr. Roberts lost a significant portion of her
27
      memory.
28


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 1             109. While much of that day and night is a blur, Ms. Roberts does recall a few
 2 details. In particular, she recalls regaining her consciousness to find DEFENDANT
 3
      KEENAN’s fingers in her vagina and DEFENDANT GOLDEN standing over them
 4
 5 rubbing his erect penis over his pants. Ms. Roberts immediately jumped away—shocked
 6
      and upset.
 7
 8             110. Upon seeing Ms. Roberts’ reaction, DEENDANT GOLDEN sent
 9 DEFENDANT KEENAN away and began to gaslight Ms. Roberts by acting as if they
10
      were in the middle of a business meeting rather than her having been being assaulted.
11
12             111. Confused, scared, and shocked, Ms. Roberts followed DEFENDANT
13
      GOLDEN’S lead and talked business with him.
14
15             112. At this time, DEFENDANT GOLDEN turned up the charm and began
16 promising her everything she ever wanted with respect to her career. Using the typical eXp
17
      Agent Attraction techniques, he promised Ms. Roberts the moon and the stars, as well as
18
19 the pathway to generational wealth; DEFENDANT GOLDEN said he was going to make
20
      Ms. Roberts the next big Alpha Agent at eXp Realty such that she no longer would have to
21
22 sell real estate.11
23             113.   Ms. Roberts recalls DEFENDANT GOLDEN telling her that the only way
24
      she could obtain her goal of becoming an Alpha Agent would be for her to leave her eXp
25
26
27
      11
           The whole point of recruitment and the Revenue Share Program was to enable real estate
28 agents to gain regular monthly passive income such that they did not have to rely on
      income from selling real estate which can be sporadic.
                                                     28

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 1 Sponsor Agent, Chris Bear, and move to DEFENDANT GOLDEN’s own Revenue Share
 2 Group.
 3
            114. DEFENDANT GOLDEN told Ms. Roberts that if she did exactly what he told
 4
 5 her to do, which included naming him as her Sponsor Agent, then he would make her an
 6
      Alpha Agent and catapult her career and help her build life changing financial success.12
 7
 8          115. Ms. Roberts, however, knew the rules and understood that she could not
 9 change Sponsor Agents due to DEFENDANT eXp’s prohibition against switching
10
      sponsors.
11
12          116. As soon as Ms. Roberts returned home from Mexico, DEFENDANT
13
      GOLDEN began inundating her with text messages and calls to convince her to change her
14
15 eXp organization and join his Revenue Share Group, known as the Golden Team.
16          117. As part of this recruitment campaign to join The Golden Team,
17
      DEFENDANT GOLDEN would at times profess his love to Ms. Roberts, and at other
18
19 times, would make promises that he would bring her great financial success so long as she
20
      did EXACTLY what he told her to do.13
21
22
23
24
25
26
      12
        Within the structure of eXp there are many “Revenue Share Groups”; Chris Bear leading
27
      one and David Golden leading another.
28 13 DEFENDANT GOVE often told agents that if they did exactly what he said, he would
      help them build wealth.
                                                   29

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 1          118. On February 11, 2020, a few days after DEFENDANT GOVE’S FREEDOM
 2 SUMMIT, at DEFENDANT GOLDEN’s invitation, Ms. Roberts traveled to Las Vegas to
 3
      attend another recruiting event.
 4
 5          119.   DEFENDANT GOLDEN had invited Ms. Roberts with the promises of
 6
      future success and other career enticements as part of his pressure campaign to come to Las
 7
 8 Vegas and get her to join The Golden Team Revenue Share Group.
 9          120. Ms. Roberts was hesitant to change organizations because under
10
      DEFENDANT eXp REALTY’s rules, if she did so, she would have to leave eXp REALTY
11
12 for six months.
13
            121. Under eXp’s rules, Ms. Roberts would have had to get 100% approval from
14
15 her entire upline to move into DEFENDANT GOLDEN’s Revenue Share Group; her
16 upline included eXp Board Member, Gene Frederick. Thus, the knowledge of this sponsor
17
      change would have necessarily been approved by the leadership team of eXp.
18
19          122. The following week, on February 16, 2020, Ms. Roberts received a text
20
      message from DEFENDANT GOLDEN stating that he had spoken with DEFENDANT
21
22 GOVE, and based on their conversation, it “looks like they just changed the rules.”
23
24
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26
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10          123. Ms. Roberts took this message to mean that the prohibition against Agent

11 Interference would be waived because DEFENDANT GOLDEN and DEFENDANT
12
      GOVE, both Alpha Agents, wanted her on DEFENDANT GOLDEN’s team.
13
14          124. DEFENDANT GOLDEN and DEFENDANT GOVE would benefit from this
15
      move because they knew Ms. Roberts would provide significant financial benefit to them
16
      (and also those above them) as they helped her untap her potential in signing FLQA
17
18 Agents, unlocking additional Tiers, and ultimately becoming, as they promised her, an
19
      Alpha Agent. The fruition of those promises would equal substantial financial benefit that
20
21 she, they, and multiple other individuals, including Cliff Freeman knew that would never
22 be realized under Chris Bear. The benefit to DEFENDANTS eXp, SANFORD, and GOVE
23
      who were in Chris Bear’s upline, would be dramatically increased with the change of Ms.
24
25 Roberts’ sponsor under the direction of DEFENDANT GOLDEN.
26
27
28


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 1             125. DEFENDANT GOLDEN proceeded to “love bomb” Ms. Roberts in an effort
 2 to get her to switch sponsors.14
 3
               126. During the time that DEFENDANT GOLDEN was love bombing Ms.
 4
 5 Roberts, DEFENDANT GOVE personally invited Ms. Roberts to attend the highly coveted
 6
      Grant Cardone 10X Growth Conference which was held in Las Vegas on February 21,
 7
 8 2020.15
 9             127. Included with this personal invitation, was an invite to an exclusive private
10
      four-person dinner with DEFENDANT GOVE and a VIP event ticket worth thousands of
11
12 dollars to the Cardone event.
13
               128. This special treatment was not only the promise, but the execution of
14
15 DEFENDANT GOLDEN and DEFENDANT GOVE putting Ms. Roberts in the room with
16 the inner circle of Alpha Agents.
17
               129. To further entice Ms. Roberts to become an Alpha Agent (which would
18
19 require her to join DEFENDANT GOLDEN’S organization), DEFENDANT GOVE
20
      shared his monthly Revenue Share that he received from the eXp Revenue Share pyramid
21
22 at that time.
23
24
25 14 Love bombing is a form of psychological and emotional abuse that involves a person
26 going above and beyond for you in an effort to manipulate you into a relationship with
   them. https://health.clevelandclinic.org/love-bombing. This term is characterized by
27
   excessive attention, admiration, and affection where the end goal is to cause the recipient
28 to feel dependent and obligated to that person.
      15
           Grant Cardone is a famous motivational speaker.
                                                      32

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 1          130. DEFENDANT GOVE’s and DEFENDANT GOLDEN’s actions enticed Ms.
 2 Roberts into wanting to switch her Revenue Share Group and name DEFENDANT
 3
      GOLDEN as her Sponsor Agent. Thus, the wheels were in motion to provide the financial
 4
 5 boon for DEFENDANT GOVE, DEFENDANT SANFORD and DEFENDANT eXp.
 6
                                     Daytona Beach, Florida
 7                                        March 2020
 8
            131. In further attempt to entice Ms. Roberts to change her Sponsor Agent,
 9
10 DEFENDANT GOLDEN invited Ms. Roberts and her business partner to attend an eXp
11
      REALTY recruiting event at the Hard Rock Hotel in Daytona Beach, Florida in or around
12
13
      March 12, 2020.16

14          132. Ms. Roberts understood that the purpose of the trip was for DEFENDANT
15
      GOLDEN to teach her how to run her own eXp REALTY recruiting event by attending
16
17 one put on by another agent; when, in actuality, the purpose of the trip was to continue the
18 pressure campaign to get Ms. Roberts to name DEFENDANT GOLDEN as her Sponsor
19
20
21
22
23
24
25 16 Prior to attending the March 2020 recruiting event, DEFENDANT GOLDEN reached
26 out to a Florida based eXp Agent and asked her to get him cocaine so he wouldn’t have to
   fly with it. Concerned by that request, the Florida Agent reached out to Defendant
27
   Golden’s Sponsor Agent, Rosie Rodriguez, to report the incident, to which she responded,
28 “you have to take the good with the bad.”


                                                  33

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 1 Agent (a campaign which included love bombing Ms. Roberts and promising her great
 2 success alongside him). 17
 3
              133. Ms. Roberts thought the plan was for her to share a room with DEFENDANT
 4
 5 GOLDEN; however, on the first night of the event, DEFENDANT BJORKMAN showed
 6
      up at DEFENDANT GOLDEN’S room with his luggage in hand and told Ms. Roberts that
 7
 8 he would also be staying in their room. At first, Ms. Roberts thought DEFENDANT
 9 BJORKMAN was joking; however, DEFENDANT BJORKMAN told Ms. Roberts that it
10
      was not a joke as he always shared a room with DEFENDANT GOLDEN.
11
12            134. The next day, while at the hotel, DEFENDANT GOLDEN received a delivery
13
      of GHB.
14
15            135. DEFENDANT GOLDEN told Ms. Roberts that the delivery was a workout
16 performance enhancing drug. DEFENDANT GOLDEN told her to look up the drug online
17
      and see that it was used for workouts as it was routinely used by bodybuilders. He then
18
19 googled GHB to show Ms. Roberts that some people used GHB as an energy enhancer.
20
      Not understanding the risk involved in taking the drug, and after being told that a small
21
22 amount would be just fine, Ms. Roberts took the dosage recommended by DEFEDANT
23 GOLDEN; Ms. Roberts did not understand that taking this drug would cause her not only
24
25
      17
           Victims respond to sexual assault in a variety of ways, some do continue or begin a
26 relationship to help them cope with the lack of control they felt during the assault.
27 Elizabeth Jeglic, Ph.D., a psychology professor at New York's John Jay College,
      https://abcnews.go.com/US/sexual-assault-victims-continue-relationships-
28
      assailants/story?id=68460398.

                                                     34

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 1 to lose her memory, but also to become incapacitated such that she would lose the ability to
 2 consent as to what happened with her body.
 3
            136. As a result of taking the drug, Ms. Roberts blacked out and does not recall
 4
 5 much of the events from that night except for flashes of memories; however, Ms. Roberts
 6
      does recall that the next morning while she was showering, DEFENDANT BJORKMAN
 7
 8 walked into the bathroom naked, exposing himself to her.
 9          137. When DEFENDANT BJORKMAN walked into the bathroom, Ms. Roberts
10
      was utterly shocked and asked what he was doing to which he replied, “oh, now you are
11
12 shy?” implying that they had sexual contact the night before.
13
            138. Ms. Roberts believes she was sexually assaulted by DEFENDANT GOLDEN
14
15 and DEFENDANT BJORKMAN the previous night while she was incapacitated.
16          139. Upon information and belief, DEFENDANT BJORKMAN and
17
      DEFENDANT GOLDEN took pictures and/or videos of her that night.
18
19          140. Ms. Roberts’ business partner, who was also in attendance at this recruiting
20
      event at the Hard Rock Hotel in Florida, made it very clear to DEFENDANT GOLDEN
21
22 that she and Ms. Roberts would not be changing their sponsor. Soon after this occurred,
23 DEFENDANT GOLDEN broke off his “relationship” with Ms. Roberts and began a smear
24
      campaign to try and discredit Ms. Roberts within eXp REALTY.
25
26          141. Distraught, Ms. Roberts ended up moving to Costa Rica.
27
            142. Several years later, after learning that other women had been drugged and
28
      assaulted by DEFENDANT GOLDEN and DEFENDANT BJORKMAN, Ms. Roberts
                                                  35

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 1 began to piece together what had happened to her – including the drugging, the assault, the
 2 fraudulent inducement, and promises of career advancement.
 3
            143. For years after the events described in this complaint, Ms. Roberts began
 4
 5 having flashes of memories involving DEFENDANT GOLDEN. One of those memories
 6
      was of an incident where she felt like she was overdosing, and she recalled in those drastic
 7
 8 moments him still making promises to her. Those promises ended nearly immediately
 9 after that incident when her business partner confirmed to DEFENDANT GOLDEN that
10
      she would not be switching sponsors.
11
12                                        Los Cabos, Mexico
13
                                              April 2021

14          144. On or around April 25, 2021, after the DEFENDANT GOLDEN debacle, Ms.
15
      Roberts and her business partner attended another eXp REALTY Recruiting event hosted
16
17 by DEFENDANT GOVE. This time the event was in Los Cabos, Mexico.
18          145. Ms. Roberts and her business partner were trying to recover from the previous
19
      events that had occurred and save their career. At that time, they attended the afternoon
20
21 welcome reception by the pool. This event had an open bar and copious amounts of
22
      alcohol. Many of the attendees were intoxicated.
23
24          146. While at this event, eXp Realty Alpha Agent, DEFENDANT SHERRARD
25 approached Ms. Roberts and introduced himself as the #1 agent at eXp REALTY. Trying
26
      to impress her he showed her a picture of his Lamborghini.
27
28


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 1
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 3
 4
 5
 6
 7
 8
 9
10
11          147. Unimpressed, Ms. Roberts rebuffed his advances and tried to continue her
12
      conversation with other attendees attempting to network. Uninvited, DEFENDANT
13
14 SHERRARD sat next to her at a table by the pool where she was talking to other agents.
15          148. DEFENDANT SHERRARD then began repeatedly placing his hand on Ms.
16
      Roberts’ leg, attempting to move his hand up under her skirt.
17
18          149. Ms. Roberts repeatedly tried to stop DEFENDANT SHERRARD from
19
      touching her; however, his pinky and ring finger grazed her vagina multiple times, making
20
      her exceedingly uncomfortable as she was sitting with Alpha Agent Cliff Freeman’s
21
22 daughter, amongst other women in her downline.
23
            150. DEFENDANT SHERRARD ignored Ms. Roberts’ attempts to get him to
24
25 remove his hands off her body; he simply ignored her rebuffs acting as if his behavior was
26 acceptable. He did this approximately 6-7 times.
27
28


                                                   37

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 1          151. Finally, Ms. Roberts jumped up from the table mid-conversation with other
 2 agents and left the event.
 3
            152. These events which occurred over a whirlwind six-week high pressure
 4
 5 campaign caused Ms. Roberts extreme emotional distress such that she stopped selling real
 6
      estate and eventually moved out of the country to distance herself from eXp REALTY.
 7
 8                                      ACTUAL NOTICE
 9          153. On September 15, 2020, an eXp Realty Agent, Christy Lundy, made a post on
10
      Facebook warning others that she had been drugged while at a recruiting event in Las
11
12 Vegas. This post received hundreds of comments including several comments from people
13
      coming forward with stories of their own accounts of being drugged.
14
15          154. On September 17, 2020, an eXp agent reported to DEFENDANT eXp that she
16 had been drugged and raped while attending a Brent Gove seminar. This agent identified
17
      DEFENDANT BJORKMAN as the rapist, and also, implicated DEFENDANT GOLDEN.
18
19          155. On September 18, 2020, DEFENDANT eXp terminated DEFENDANT
20
      BJORKMAN’s Independent Contractor Agreement (“ICA”) and removed his license from
21
22 eXp Realty. That same day, DEFENDANT GOVE knew DEFENDANT eXp took this
23 action and the reasons for it.
24
            156. Upon information and belief, after discussing the matter with DEFENDANT
25
26 GOLDEN, DEFENDANT GOVE reached out to DEFENDANT BJORKMAN to offer his
27
      full support and commitment to lobby DEFENDANT SANFORD on DEFENDANT
28


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 1 BJORKMAN’s behalf to get DEFENDANT BJORKMAN reinstated at eXp and to make
 2 sure that DEFENDANT BJORKMAN continued to receive his Revenue Share income.
 3
            157. On October 6, 2020, eXp agent Tami Sims reported to Cory Haggard, a
 4
 5 member of DEFENDANT eXp’s executive leadership team, that in 2014 DEFENDANT
 6
      BJORKMAN had told her to stay away from DEFENDANT GOLDEN because he “will
 7
 8 drug you and rape you.” DEFENDANT eXp REALTY and DEFENDANT SANFORD
 9 ignored this and took no action to investigate DEFENDANT GOLDEN and continued to
10
      pay DEFENDANT BJORKMAN.
11
12          158. On October 6, 2020, Sims further notified DEFENDANT eXp Realty that
13
      DEFENDANT BJORKMAN showed her videos of DEFENDANT GOLDEN completely
14
15 naked performing sex acts with random women. DEFENDANT eXp REALTY and
16 DEFENDANT SANFORD took no action against DEFENANT GOLDEN and continued
17
      to pay DEFENDANT BJORKMAN.
18
19          159. On October 6, 2020, Sims reported to DEFENDANT eXp REALTY that she
20
      knew DEFENDANT BJORKMAN kept GHB in his five-hour energy drink bottles.
21
22 DEFENDANT eXp and DEFENDANT SANFORD took no action against DEFENDANT
23 GOLDEN and continued to pay DEFENDANT BJORKMAN.
24
            160. On October 6, 2020, Sims reported to DEFENDANT eXp REALTY that in
25
26 February 2019 at a Club Wealth event in Hawaii where eXp agents recruited other agents
27
      into eXp, a real estate agent was hospitalized with a dangerous Blood Alcohol amount after
28
      having just one drink while being recruited by DEFENDANT BJORKMAN.
                                                  39

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 1 DEFENDANT BJORKMAN told Sims that the agent that was taken to the hospital was
 2 wasted, “she wanted it,” and “she was so into me.” Sims also told DEFENDANT eXp
 3
      REALTY that DEFENDANT GOLDEN was not at this event because he had already been
 4
 5 banned from attending Club Wealth events. DEFENDANT eXp and DEFENDANT
 6
      SANFORD took no action against DEFENDANT GOLDEN and continued to pay
 7
 8 DEFENDANT BJORKMAN.
 9          161. On October 6, 2020, Sims reported to DEFENDANT eXp REALTY that
10
      DEFENDANT GOLDEN and DEFENDANT BJORKMAN would get agents drunk so that
11
12 they could get them to join eXp Realty naming either of them as their sponsor.
13
      DEFENDANT eXp and DEFENDANT SANFORD took no action against DEFENDANT
14
15 GOLDEN and continued to pay DEFENDANT BJORKMAN.
16          162. Finally, Sims told DEFENDANT eXp that she did not want to be putting
17
      money into either DEFENDANT BJORKMAN or DEFENDANT GOLDEN’s pockets and
18
19 did not want either of them to be in her upline. DEFENDANT eXp and DEFENDANT
20
      SANFORD took no action against DEFENDANT GOLDEN and continued to pay
21
22 DEFENDANT BJORKMAN.
23          163. Also on October 6, 2020, DEFENDANT eXp REALTY received an eleven
24
      (11) page detailed memorandum (the “Memo”) from one of its top agents (hereafter Agent
25
26 Doe) explaining that it is DEFENDANT GOLDEN and DEFENDANT BJORKMAN’S
27
      “MO” to (1) travel together “as a pack”; (2) get agent recruits so intoxicated that they can
28
      hardly function; (3) take advantage of them; (4) video them; and (5) follow up with
                                                    40

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 1 statements of “you’re a whore”, “you asked for it,” “you drink too much,” “you made a
 2 mistake”, “you know I would never do something like that to you”, “you liked it” etc.
 3
            164. The Memo details how it was DEFENDANT BJORKMAN and
 4
 5 DEFENDANT GOLDEN’S practice to supply copious amounts of drugs and alcohol at
 6
      their Recruiting Events so that the attendees would do things “that are hard to take back
 7
 8 and embarrassing” and then use that information to coerce them to join DEFENDANT eXp
 9 REALTY. DEFENDANT eXp REALTY and DEFENDANT SANFORD took no action
10
      against DEFENDANT GOLDEN and continued to pay DEFENDANT BJORKMAN.
11
12          165. Agent Doe also informed DEFENDANT eXp REALTY in the same Memo,
13
      that members of DEFENDANT BJORKMAN and DEFENDANT GOLDEN’S upline were
14
15 aware of DEFENDANT GOLDEN and DEFENDANT BJORKMAN’S behavior but did
16 nothing about it because they were the upline’s “meal ticket.” DEFENDANT eXp
17
      REALTY took no action against DEFENDANT GOLDEN and continued to pay
18
19 DEFENDANT BJORKMAN.
20
            166. The Memo also details the following incidents:
21
22                 In early April of 2019, at the invitation of Alpha Agent Jesse Zagorsky (an
23                 eXp Agent in DEFENDANT BJORKMAN, DEFENDANT GOLDEN,
24
                   DEFENDANT GOVE and DEFENDANT SANFORD’S downline), invited
25
26                 Agent Doe to a real estate Recruiting Event in La Jolla, California, where she
27
                   met for the first time, DEFENDANT BJORKMAN and DEFENDANT
28
                   GOLDEN.
                                                    41

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1                The Recruiting Event was held at a large beach house where many of the
2
                 attendees were staying. During this particular Recruiting Event, Agent Doe
3
4
                 heard attendees discussing that “hookers and blow” were being offered in one

5                of the rooms at the Recruiting Event.
6
                 Also, during this event, DEFENDANT GOLDEN and DEFENDANT
7
8                BJORKMAN both offered Agent Doe, made for her, and tried to get her to
9
                 drink a mixed drink, which she declined as she does not like to drink alcohol
10
11
                 at events unless her husband is also present.

12               Agent Doe recalled DEFENDANT BJORKMAN making lewd and unwanted
13
                 sexual comments to her all evening.
14
15               The following week in April of 2019, Agent Doe attended a real estate event
16
                 hosted by The Closing Table in Beverly Hills, California, where eXp agents
17
18               recruited other agents to join eXp. DEFENDANT BJORKMAN and

19               DEFENDANT GOLDEN were also in attendance.
20
                 When DEFENDANT BJORKMAN learned that Agent Doe’s husband would
21
22               be attending as well, DEFENDANT BJORKMAN got very upset and tried to
23
                 get Agent Doe to go to his room before her husband arrived. She declined the
24
25               invitation.

26
27
28


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1                After that event, DEFENDANT BJORKMAN and DEFENDANT GOLDEN
2
                 convinced Agent Doe to download Marco Polo, a messaging app they used to
3
4
                 recruit agents.

5                In mid-June of 2019, Agent Doe and her husband attended a real estate event
6
                 hosted by Lab Coat Agents. DEFENDANT BJORKMAN and DEFENDANT
7
8                GOLDEN were in attendance and invited her and her husband to their private
9
                 suite in Coronado to recruit Agent Doe to join DEFENDANT eXp REALTY.
10
11               While at this meeting, DEFENDANT BJORKMAN and DEFENDANT

12               GOLDEN offered Agent Doe and her husband a mixed drink. Agent Doe
13
                 remembers having a few sips but then her memory goes blank. Agent Doe was
14
15               later told by people in attendance that she and her husband were acting
16
                 “wasted” and left the suite early in the afternoon. The next thing Agent Doe
17
18
                 and her husband recall is waking up the next morning in their hotel room

19               feeling incredibly ill, ashamed, and mortified that she had allowed herself to
20
                 get so “drunk”.
21
22               The day after she had been drugged (which she did realize until she read
23
                 Christy Lundy’s September 15, 2020 Facebook post describing a similar
24
25
                 situation), Agent Doe recalls several people making fun of her for being so

26               intoxicated. Agent Doe later learned that DEFENDANT BJORKMAN had
27
                 texted others making fun of Agent Doe for getting so wasted in his suite.
28


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1                In August of 2019, still not realizing she and her husband had been drugged
2
                 by DEFENDANT BJORKMAN and DEFENDANT GOLDEN, Agent Doe
3
4
                 decided to join eXp and name DEFENDANT BJORKMAN as her sponsor.

5                Soon thereafter, Agent Doe traveled to Las Vegas to attend an eXp Recruiting
6
                 Event hosted by DEFENDANT BRENT GOVE at the Red Rock Resort.
7
8                At this Recruiting Event, DEFENDANT GOLDEN was supposed to be one of
9
                 DEFENDANT GOVE’s speakers, but DEFENDANT GOLDEN was unable
10
11               to take the stage because he was too high and too drunk to make it on stage.

12               At that same recruiting event hosted by DEFENDANT GOVE, one of
13
                 DEFENDANT GOVE’s downline agents overdosed on cocaine and GHB in
14
15               DEFENDANT GOLDEN’s suite.
16
                 Rosie Rodriguez, DEFENDANT GOLDEN’S Sponsor Agent and
17
18               DEFENDANT GOVE’s downline agent, knew of the drugging and overdose
19               but discouraged the attendees from seeking medical help.
20
                 Also at this recruiting event, male attendees in their 40s and 50s were having
21
22               sex with very young women. Agent Doe told DEFENDANT eXp REALTY
23
                 that some of these sexual encounters were not consensual.
24
25               DEFENDANT eXp and DEFENDANT SANFORD took no action against
26               DEFENDANT GOVE or DEFENDANT GOLDEN and continued to pay
27
                 DEFENDANT BJORKMAN.
28


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1                In November of 2019, Agent Doe saw DEFENDANT BJORKMAN at
2
                 another Closing Table event, this time in Napa, California. At that event
3
4
                 DEFENDANT BJORKMAN was intoxicated and grabbed Agent Doe and

5                tried to kiss her.
6
                 In December of 2019, Agent Doe was invited by DEFENDANT
7
8                BJORKMAN, DEFENDANT GOLDEN and Rosie Rodriguez to meet with
9
                 DEFENDANT eXp Board Member, Gene Frederick in Puerto Rico. Agent
10
11
                 Doe, Rosie Rodriguez, DEFENDANT GOLDEN, and DEFENDANT

12               BJORKMAN were staying at an AIRBNB together. Agent Doe had agreed to
13
                 go because Rosie Rodriguez, another female, would be in attendance. On her
14
15               way there, Agent Doe learned that Rosie Rodriguez would not be attending
16               because she was not feeling well.
17
18
                 While at the Airbnb in Puerto Rico, DEFENDANT GOLDEN and

19               DEFENDANT BJORKMAN made sexual comments, ridiculed Agent Doe
20
                 about her religious beliefs, and left a 5-hour energy bottle on her nightstand
21
22               next to her bed. Agent Doe felt so uncomfortable that she locked herself in her
23               room and talked to her husband all night long. The next day she asked eXp
24
                 Board Member and top Alpha Agent Gene Frederick to take her to the airport
25
26               a day early. Agent Doe then spent the night in the airport in order to avoid
27
                 being in the Airbnb with DEFENDANT BJORKMAN AND DEFENDANT
28


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 1                GOLDEN because she was so scared of their sexual advances, comments, and
 2                behavior.
 3
 4
                  In early March of 2020, an eXp agent from Florida complained to Agent Doe

 5                that DEFENDANT GOLDEN tried to get her and one of her teammates to
 6
                  “score” cocaine for the Flagler recruiting event (detailed above in Footnote
 7
 8                25). Agent Doe immediately reported this to DEFENDANT GOLDEN’S
 9                Sponsor Agent, Rosie Rodriguez, and her response was that this was fine and
10
                  that “boys will be boys.” Not getting any help, Agent Doe went to Rosie
11
12                Rodriguez’s Sponsor Agent, Rick Geha. Geha didn’t want to discuss the
13
                  matter with her but instead offered to “coach” her on team growth. Still not
14
15                getting any assistance, Agent Doe went to Rick Geha’s Sponsor Agent,
16                DEFENDANT GOVE. DEFENDANT GOVE refused to help as he was “late
17
                  for a tee time.”
18
19          167. The Memo further details events that happened in Las Vegas and are at issue
20
      in the related action Acevedo v. eXp Realty, et al. Once, again, DEFENDANT eXp and
21
22 DEFENDANT SANFORD took no action against DEFENDANT GOLDEN and continued
23 to pay DEFENDANT BJORKMAN.
24
            168. One week after DEFENDANT eXp received a copy of the Memo, the detailed
25
26 complaint from Sims, and the detailed complaint from the agent that was raped in Las
27
      Vegas, as well as the notorious Facebook post, rather than taking any action against
28
      DEFENDANT BJORKMAN and DEFENDANT GOLDEN, DEFENDANT SANFORD
                                                   46

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 1 and DEFENDANT GOVE offered DEFENDANT BJORKMAN their encouragement and
 2 support, all while ignoring the pleas from those assaulted who were asking DEFENDANT
 3
      eXp, DEFENDANT SANFORD, and DEFENDANT GOVE for help.
 4
 5          169. At that same time, DEFENDANT GOVE began to campaign actively to
 6
      DEFENDANT SANFORD and DEFENDANT eXp on DEFENDANT BJORKMAN’S
 7
 8 behalf to change DEFENDANT eXp’s policies on vesting so that DEFENDANT
 9 BJORKMAN would be allowed to vest, lock in his Front Line Qualifying Agents
10
      (“FLQA”), and continue to receive his Revenue Share Income before the designated three
11
12 year vesting mark.
13
            170. Also, around the same time, DEFENDANT eXp organized a call with its
14
15 Alpha and Beta Agents to discuss the DEFENDANT BJORKMAN situation. On that call,
16 several agents were heard joking about the rape allegations and made comments like “what
17
      happens in Vegas, stays in Vegas.”
18
19          171. Ultimately, DEFENDANT SANFORD and DEFENDANT eXp, at the
20
      incessant encouragement from DEFENDANT GOVE, took no action against
21
22 DEFENDANT GOLDEN and allowed DEFENDANT BJORKMAN to keep his Revenue
23 Share Income despite the multiple complaints of drugging and raping and despite the fact
24
      that eXp had “terminated” DEFENDANT BJORKMAN’S ICA and had his licensed
25
26 removed from eXp Realty just a few weeks prior.
27
            172. In fact, after DEFENDANT eXp and DEFENDANT SANFORD knew about
28
      all of these allegations against DEFENDANT GOLDEN and DEFENDANT
                                                 47

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 1 BJORKMAN’s arrest for sexual assault, DEFENDANT eXp and DEFENDANT
 2 BJORKMAN executed a contract to allow DEFENDANT BJORKMAN to vest early so
 3
      that DEFENDANT SANFORD and DEFENDANT eXp could pay DEFENDANT
 4
 5 BJORKMAN Revenue Share indefinitely (the “Accelerated Compensation Agreement”).
 6
           173. The Accelerated Compensation Agreement states:
 7
 8                As of the Effective Date, eXp will accelerate the vesting of
                  Agent’s Revenue Share, as defined in the ICA, as if Agent had
 9                been independent sales agent with eXp for three (3) years as
10                the ICA Termination Date. Agent must qualify in the
                  jurisdiction he is domiciled in order to receive Revenue Share
11
                  and maintain an active real estate license in good standing to
12                continue to receive Revenue Share payments. For so long as
13
                  agent does not affiliate with a competitor of eXp, agent will be
                  eligible to earn eXpansion and eXponential shares. If Agent
14                affiliates with a competitor of eXp, Agent loses his ability to
15                earn the exponential share portion of his revenue share. In
                  addition, if any of the following are true, eXp will cease to pay
16                agent either the eXpanison share, eXponential share, or both:
17                1) Agent is convicted of a crime; 2) If Agent commits or
                  attempts to commit or admits to committing actors of moral
18                turpitude that are inconsistent with eXp’s core values; or 3)
19                Agent has engaged in legal action against eXp or acted in a
                  manner that facilitates legal action against eXp.
20
21         174. DEFENDANT eXp and DEFENDANT SANFORD subsequently began
22
      paying the accelerated payments to DEFENDANT BJORKMAN. The first payment was
23
24 made on April 21, 2021, and the last payment was made on March 23, 2023. In total, upon
25
26
27
28


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 1 information and belief, DEFENDANT eXp had paid DEFENDANT BJORKMAN over
 2 $1,000,000 as part of this agreement.18
 3
            175. In April 2024, DEFENDANT BJORKMAN filed his own lawsuit against
 4
 5 DEFENDANT eXp and DEFENDANT SANFORD for breach of contract based on their
 6
      failure to continue to pay DEFENDANT BJORKMAN under the terms of their executed
 7
 8 Accelerated Compensation Agreement on the grounds that DEFENDANT eXp knew about
 9 the allegations against DEFENDANT BJORKMAN before it entered into the Accelerated
10
      Compensation Agreement, and therefore, had no right to stop paying him based on the
11
12 morality clause cited above once it became public that eXp was paying DEFENDANT
13
      BJORKMAN. See Michael Bjorkman v. eXp Realty, LLC and Glenn Sanford, Superior
14
15 Court of the State of Washington, Case No. 24-2-01833-32.
16          176. In March 2022, Fabiola Acevedo (a Plaintiff in the Acevedo matter) went to
17
      eXpCon where she personally told DEFENDANT SANFORD and Jason Gesing that she
18
19 was drugged and assaulted by DEFENDANT BJORKMAN and that her entire upline was
20
      aware of his behavior and were silent.
21
22          177. DEFENDANT eXp REALTY sent Ms. Acevedo’s request for a sponsor

23 change to DEFENDANT eXp’s compliance committee but declined her request because
24
      too much time had passed between the time she was assaulted and making her request.
25
26
27
28 18 March 23, 2023 coincides with the filing of the lawsuit against DEFENDANT
      SANFORD. See Acevedo v. eXp Realty.
                                                 49

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 1          178. In April 2022, Felicia Gentry, an eXp agent, eXp’s Director and Leader of
 2 Diversity and Inclusion for eXp, and eXp Board Member addressed eXp’s Board of
 3
      Directors to discuss the multiple complaints brought by eXp agents, all independently
 4
 5 reporting that they had been drugged and assaulted by DEFENDANT BJORKMAN and
 6
      DEFENDANT GOLDEN.
 7
 8          179. In her address to the Board of Directors, Ms. Gentry complained that
 9 DEFENDANT eXp REALTY only conducted an internal investigation that lacked
10
      independence.
11
12          180. Ms. Gentry sought the advice of outside counsel from a law firm in Dallas,
13
      Texas asking what to do when DEFENDANT eXp REALTY did not take any action. This
14
15 law firm suggested they do an outside investigation; however, Ms. Gentry was told by
16 DEFENDANT eXp that it was not necessary and that DEFENDANT eXp REALTY would
17
      be handling the investigation internally. Ms. Gentry was one of the first Board Members
18
19 ever not to be asked back to the Board for a second term.
20
            181. Ms. Gentry also complained to the Board of Directors about its inconsistent
21
22 decisions to let some victims be allowed to switch sponsors but others, like Ms. Acevedo,
23 not be allowed the same courtesy.
24
            182. Ms. Gentry proposed the following seven-point plan of action to the Board
25
26 after learning about the assaults:
27
                  1. Launch an independent investigation;
28
                  2. Change the sponsorship for victims;
                                                   50

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 1                  3. Create an internal and external statement supporting a zero-tolerance
 2                     policy for sexual harassment and sexual assault;
 3
                    4. Create an independent whistleblower hotline process for staff and agents to
 4
 5                     confidentially report complaints;
 6
                    5. Change the Revenue Share policy that would prohibit terminated agents
 7
 8                     from continuing to financially benefit from the Revenue Share plan;
 9                  6. Encourage inclusion; and
10
                    7. Proactively support women in the company.
11
12         183. DEFENDANT eXp REALTY ignored Ms. Gentry’s recommendations;
13
      however, years later, after the Acevedo lawsuit was filed, DEFENDANT SANFORD
14
15 announced his own seven Point Plan to address sexual harassment and sexual assault at
16 eXp. It was the exact plan Ms. Gentry had proposed two years earlier.
17
           184. On March 20, 2023, DEFENDANT SANFORD addressed the allegations set
18
19 forth in Acevedo v. eXp Realty and made the following public statement which was posted
20
      to YouTube:
21
22                  This is a kind of a tough week, obviously, you know, many of
                    you have seen some of the news that's been out, some of you
23                  likely read the lawsuit that was filed against two agents, [Mike
24                  Bjorkman and David Golden] one [Bjorkman] who we released
                    a few years ago when this came to light as a potential challenge.
25                  And, then we actually suspended another agent [Golden]
26                  yesterday [March 19, 2023], based on you know, I actually read
                    through, and I know, many of the leadership team, and many
27
                    others read through the civil complaint. And there were things
28


                                                     51

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 1               that I was not aware of being alleged,19 and, and things that
                 that were there, that the obvious first step as an organization is
 2               to distance ourselves from that, pending the outcome of internal
 3               investigation, also attending the outcome of the civil suit.
 4
                                                ****
 5               We took action a few years ago, immediately released
 6               [DEFENDANT BJORKMAN] when this was coming to a head,
                 and as we were getting internal facts, we've got, you know, we
 7               have internal compliance committee that had reviewed the
 8               information back then, and the decision was made at that point,
                 that, that we needed to release [DEFENDANT BJORKMAN]
 9               and [DEFENDANT BJORKMAN] needed to deal with the
10               issue that they were having to deal with, because of actions or
                 alleged actions that they had, had taken and or participated in.
11
12                                              ****
13
                 We do not take sexual assault, or even the potential of sexual
                 assault, we take that very seriously…. And as, as the largest
14               real estate brokerage, we also need to put in new processes and
15               paths for how to address these types of, of issues. So, you
                 know, a lot of this has been in the last 48 hours, because the
16               press release….
17
                                                ****
18               But we are going to be making a lot more overt in fact, later on
19               today in Workplace we're going to be sharing some additional
                 resources, phone numbers, whistleblower hotlines, and then
20
                 also we are also setting up a task force made up exclusively of
21               women to actually help design processes for us so that we can
22               really address the needs that are unique in what is perceived and
                 probably likely is a fairly male dominated industry.
23
24               And, you know, how do we level the playing field so that
                 you've got the resources and the access and the abilities to have
25               things address changed, etc. that need to, so that you can feel
26               like you can be in places where maybe you don't feel as safe as
                 you should?
27
28 19 There were no new allegations set forth in the Acevedo Complaint that was not already
      known to DEFENDANT SANFORD and DEFENDANT eXp.
                                                  52

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 1
                                                ******
 2
 3                 We do need to continually go back and fix the things that we
                   should have fixed in the past. And, and fix them as we continue
 4
                   to scale and grow.
 5
 6                                              *****

 7                 For anybody who was a victim, we want to make sure that
 8                 you're in, you have some way to address inside of EXP, so that
                   you can get some resolution of some sort without resulting, you
 9                 know, having to go to the legal system.
10
                 CONSTRUCTIVE KNOWLEDGE/ SHOULD HAVE KNOWN/
11
                              WILLFUL BLINDNESS
12
13
            185. DEFENDANT GOLDEN AND DEFENDANT BJORKMAN had a

14 widespread reputation, even prior to joining eXp, of drugging and assaulting women.
15
      DEFENDANT GOVE, SANFORD, GOLDEN, AND BJORKMAN had worked for
16
17 Remax and/or Keller Williams for years prior to eXp’s existence. It was a small
18 community in which DEFENDANT GOLDEN and DEFENDANT BJORKMAN’S
19
      REPUTATION proceeded them.
20
21          186. Many Alpha Agents and employees, including DEFENDANT GOVE, were
22
      present at events where women were drugged and assaulted.
23
24          187. Upon information and believe, prior to the implementation of DEFENDANT
25 eXp’s seven-point plan, DEFENDANT eXp had no known sexual assault
26
      reporting/complaint handling policies for its agents or event attendees.
27
28


                                                    53

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 1          188. Upon information and belief, DEFENDANT eXp had a history of permissible
 2 behaviors for employees/agents/presidents who sexually assaulted/harassed woman.
 3
            189. Upon information and belief, NDA’s were used to silence survivors of
 4
 5 sexually assault and employees who attempted to investigate/speak out were fired.
 6
            190. Upon information and belief, there was no training for eXp employees/agents
 7
 8 for complaint handling of sexual assault/harassment incidents. A lot of events where
 9 employees of eXp in the presence of drug use.
10
            191. At the time of the alleged incidents as described in this complaint,
11
12 DEFENDANT eXp had no policy against the use of drugs and alcohol during recruitment
13
      events both sponsored and non-sponsored by eXp. As of the date of this complaint that
14
15 policy has changed.
16          192. In 2020, DEFENDANT eXp REALTY had no process or policy for its agents
17
      to report sexual harassment or sexual assault.
18
19          193. Despite not having any process or policy in place to handle agent complaints,
20
      multiple eXp agents complained to DEFENDANT eXp about DEFENDANT GOLDEN
21
22 and DEFENDANT BJORKMAN drugging and raping agents, yet DEFENDANT eXp took
23 no meaningful action against DEFENDANT GOLDEN and insufficient action against
24
      DEFENDANT BJORKMAN.
25
26          194. All DEFENDANTS’ actions toward complainants of sexual assault have
27
      demonstrated a conscious disregard for the safety of all women agents in the presence of
28


                                                       54

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 1 DEFENDANT GOLDEN and DEFENDANT BJORKMAN and individuals capable of
 2 similar behavior that likewise is and has been regularly ignored by the Company.
 3
                   BENEFIT TO DEFENDANTS eXp, SANFORD, and GOVE
 4
 5          195. DEFENDANT eXp, SANFORD, and GOVE stood to benefit financially if
 6
      Ms. Roberts moved into DEFENDANT GOLDEN’s Revenue Share Group.
 7
 8          196. DEFENDANT GOLDEN was very clear that he would only help Ms. Roberts
 9 become an Alpha Agent if she named him as her Sponsor Agent.
10
            197. DEFENDANT GOLDEN and DEFENDANT GOVE both believed that Ms.
11
12 Roberts would be DEFENDANT eXp’s next Alpha Agent, as was evidenced by all the
13
      time, money, and effort that was expended to get her to switch sponsors.
14
15          198. By adding another Alpha Agent to their ranks, DEFENDANT GOVE,
16 DEFENDANT SANFORD, and DEFENDANT eXp would financially benefit as it is the
17
      Alpha Agents who disproportionately generate income into DEFENDANT eXp’s Revenue
18
19 Share Plan, of which DEFENDANT GOVE and DEFENDANT SANFORD are two of the
20
      primary beneficiaries.
21
22          199. DEFENDANT GOVE, acting in concert with DEFENDANT GOLDEN,

23 attempted to entice Ms. Roberts to join DEFENDANT GOLDEN’S Revenue Share Group.
24
            200. Although Ms. Roberts was already in DEFENDANT GOVE’s downline via
25
26 Chris Bear, DEFENDANT GOVE knew that under Chris Bear (who wanted all the
27
      FLQA’s in his region for himself), Ms. Roberts did not stand a chance at becoming an
28
      Alpha Agent despite having the “it” factor, but with DEFENDANT GOLDEN’S and
                                                   55

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 1 DEFENDANT GOVE’s support, Ms. Roberts would become one of the next Alpha
 2 Agents; an act from which they, as well as DEFENDANTs eXp and SANFORD would
 3
      receive a direct financial benefit.
 4
 5          201. Thus, DEFENDANT GOVE, along with DEFENDANT GOLDEN, began a
 6
      high-pressure campaign to get Ms. Roberts to join DEFENDANT GOLDEN’s Revenue
 7
 8 Share Group where she would be taught to become an Alpha Agent.
 9          202. The benefit of such a move, would also provide a financial benefit to
10
      DEFENDANT SANFORD as he is Agent #1 in DEFENDANT eXp’s Revenue Share
11
12 pyramid.
13
            203. As a result of the enticement by DEFENDANT GOVE, and promises made by
14
15 DEFENDANT GOLDEN of career advancement, monetary success, and “love-bombing”,
16 Ms. Roberts had the intention of naming DEFENDANT GOLDEN as her Sponsor Agent.
17
      It was because of the concern for Ms. Roberts by her business partner that this pursuit was
18
19 ultimately halted.
20
                                       AGENCY and CONTROL
21
22          204. DEFENDANT GOLDEN AND DEFENDANT BJORKMAN were agents of

23 DEFENDANTS GOVE, eXp, and SANFORD in their efforts to recruit more real estate
24
      agents into eXp’s Revenue Share Plan.
25
26          205. As agents participating in DEFENDANT eXp REALTY’s Revenue Share
27
      Plan, DEFENDANT GOLDEN and DEFENDANT BJORKMAN were required to follow
28


                                                    56

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 1 certain policies and procedures pursuant to, among other things, the Independent
 2 Contractor Agreement (“ICA”).
 3
            206. Per the ICA, DEFENDANT GOLDEN and DEFENDANT BJORKMAN
 4
 5 were required to use the eXp brand in their marketing and recruiting
 6
      efforts/emails/communications/branding.
 7
 8          207. Per the ICA, all DEFENDANTs were required to be active members of the
 9 National Association of Realtors (“NAR”).
10
            208. Per the ICA, DEFENDANT eXp REALTY has the right to prevent
11
12 DEFENDANT GOLDEN and DEFENDANT BJORKMAN from manipulating the
13
      Revenue Share Plan by adding agents to their downline for the purpose of artificially
14
15 qualifying that eXp Agent as an FLQA.
16          209. With respect to the REVENUE SHARE PLAN, DEFENDAND GOLDEN
17
      and DEFENDANT BJORKMAN were required to follow The Revenue Share Plan
18
19 guidelines that are attached to the ICA.
20
            210. DEFENDANT GOLDEN and DEFENDANT BJORKMAN in their
21
22 employment were required to follow a set of policies in their retention of prospective
23 agents and their ultimate retention. These included, but were not limited to, the
24
      requirement of a potential new agent to sign an “ICA” with their name listed as the
25
26 Sponsor; the inability for sponsor change without 100 percent agreement of all agents in an
27
      upline; and the requirement for each agent to pay a one-time fee of $1,000 to facilitate a
28
      change of sponsorship; the payment of monthly fees which included: Sign-up Fees,
                                                    57

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 1 Technology Fee, eXp University Tuition, Broker Review Fee, Risk Management Fee,
 2 Transaction Fee, Revenue Share Participation Fee.
 3
            211. DEFENDANT GOLDEN and DEFENDANT BJORKMAN, like other eXp
 4
 5 agents, were automatically enrolled in the eXp Revenue Share Plan, Per Addendum B in
 6
      the eXp Revenue Share Plan.
 7
 8          212. DEFENDANT GOLDEN and DEFENDANT BJORKMAN, like other agents,
 9 were required to sign the Agent Equity Program Participation Election Form allowing eXp
10
      World Holdings, Inc. to issue shares at their discretion of the restricted common stock to
11
12 the Company’s agents and brokers.
13
            213. DEFENDANT eXp could terminate DEFENDANT GOLDEN and
14
15 DEFENDANT BJORKMAN at will per their ICA.
16          214. DEFENDANT GOLDEN and DEFENDANT BJORKMAN were required to
17
      be licensed Real Estate Agents, but no special skill was required in the recruitment aspect
18
19 of the multi-level-marketing aspect.
20
            215. The services rendered by DEFENDANT GOLDEN and DEFENDANT
21
22 BJORKMAN as “Alpha agents” was integral to the eXp business model as discussed
23 supra. Without this role, DEFENDANT eXp, and its multi-level marketing model fails.
24
25                                    VICARIOUS LIABILITY
26
            216. Through the acts and omissions described throughout this First Amended
27
28 Complaint, the eXp Defendants exercised or retained the right to exercise systematic and


                                                    58

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 1 day-to-day control over the means and methods used by DEFENDANT GOLDEN and
 2 DEFENDANT BJORKMAN when enticing agents to switch their Sponsor agent.
 3
            217. The eXp Defendants are vicariously liable for the TVPRA violations of
 4
 5 DEFENDANT BJORKMAN and DEFENDANT GOLDEN.
 6
            218. DEFENDANT GOVE, DEFENDANT SANFORD, and DEFENDANT eXp
 7
 8 REALTY, instructed, required, and enabled DEFENDANT BJORKMAN and
 9 DEFENDANT GOLDEN on the means and methods on how to entice agents and how to
10
      join DEFENDANT eXp REALTY’s pyramid, and more specifically, how to join their
11
12 personal downline within the pyramid.
13
            219. DEFENDANT GOVE, DEFENDANT SANFORD, and DEFENDANT eXp
14
15 REALTY provided DEFENDANT BJORKMAN and DEFENDANT GOLDEN with
16 scripts, tools, and training on how to recruit agents into DEFENDANT eXp’s Revenue
17
      Share pyramid.
18
19          220. DEFENDANT eXp requires all of its agents, including DEFENDANT
20
      BJORKMAN and DEFENDANT GOLDEN to follow the eXp AGENT ATTRACTION
21
22 Best Practices Guide, the eXp Agent Attraction Success Strategy, and eXp REALTY’s
23 Policies and Procedures; DEFENDANT eXp controls all of its agents with respect to
24
      recruitment.
25
26          221. DEFENDANT eXp required that DEFENDANT BJORKMAN and
27
      DEFENDANT GOLDEN use its branding and logos, provided them with databases, access
28


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 1 to its computer systems, company websites, forms, and documents; all of which they were
 2 required to use.
 3
            222.       DEFENDANT GOLDEN and DEFENDANT BJORKMAN were agents of
 4
 5 DEFENDANT eXp REALTY.
 6
            223. Likewise, DEFENDANT BJORKMAN and DEFENDANT GOLDEN relied
 7
 8 on DEFENDANT GOVE, DEFENDANT SANFORD, and DEFENDANT eXp
 9 REALTY’s methods and instructions when actively recruiting agents for eXp REALTY.
10
            224. DEFENDANT GOVE, DEFENDANT SANFORD and DEFENDANT eXp
11
12 REALTY taught DEFENDANT BJORKMAN and DEFENDANT GOLDEN that the key
13
      to “Agent Attraction”, i.e., recruitment into the eXp REALTY pyramid, is to project an
14
15 image of success – both personally and professionally.
16          225. DEFENDANT eXp REALTY went to great lengths to showcase the success
17
      and wealth of its top influencers in order to convince others to join the pyramid and to
18
19 attain the same level of prosperity. This tactic often included top agents sharing pictures of
20
      their yachts, airplanes, vacation properties, and how much money they were making
21
22 monthly due to their participation in the pyramid.
23          226. DEFENDANT GOVE personally trained DEFENDANT GOLDEN and
24
      DEFENDANT BJORKMAN on how to attract agents to eXp REALTY; in fact,
25
26 DEFENDANT GOLDEN stated in a video with DEFENDANT GOVE, that he called on
27
      DEFENDANT GOVE and other top eXp agent Influencers, “a million times” to get
28
      training help.
                                                    60

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 1          227. This training included inviting agents to events held at beautiful, exotic
 2 locations, which successful real estate agents attended to “rub shoulders” with the big
 3
      Influencers or Agent Attractors, essentially the “Who’s Who” in real estate and with whom
 4
 5 they were encouraged to develop relationships, as well as to be trained and to learn how to
 6
      hone well-oiled recruitment techniques utilized by higher ups at eXp REALTY.
 7
 8          228. Using what they learned from DEFENDANT GOVE, DEFENDANT
 9 SANFORD, and DEFENDANT eXp REALTY, DEFENDANTS BJORKMAN and
10
      GOLDEN also went to great lengths to showcase themselves as successful businessmen
11
12 and leaders in the real estate industry by speaking at eXp REALTY events and hosting eXp
13
      REALTY recruitment events.
14
15          229. DEFENDANT GOVE was keenly aware of the methods DEFENDANTS
16 BJORKMAN and GOLDEN used at their recruitment events.
17
            230. DEFENDANT GOVE, DEFENDANT SANFORD and DEFENDANT eXp
18
19 REALTY maintained and controlled DEFENDANT BJORKMAN and DEFENDANT
20
      GOLDEN’s recruitment activities sufficient to establish vicarious or agency liability under
21
22 the TVPRA.
23                                         THE VENTURE
24
            231. DEFENDANT eXp REALTY, created by DEFENDANT GLENN
25
26 SANFORD, has two businesses. One business is the traditional real estate business of
27
      buying and selling homes. The other business is a multi-level-marketing pyramid scheme
28
      which rewards the participants for recruitment of new agents, not for selling real estate.
                                                     61

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 1             232. The venture at issue centers around the recruitment of agents into
 2 DEFENDANT eXp REALTY’s Revenue Share Program (also referred to as the “multi-
 3
      level marketing” or “pyramid scheme”).20
 4
 5             233. For this pyramid scheme to work, continuous recruitment of new agents is
 6
      essential, without which it will collapse. To fund this pyramid scheme, each recruited agent
 7
 8 must pay a monthly fee of $85.00, which amounts to $1,020.00 a year.
 9             234. As of November 2023, DEFENDANT eXp REALTY currently has more than
10
      89,000 agents worldwide, nearly a quarter of those agents participate in the Revenue Share
11
12 plan.
13
               235. DEFENDANT GOVE is a central figure in the pyramid scheme by virtue of
14
15 his personal downline of agents that make up nearly 80% of the agents in the Revenue
16 Share plan.
17
               236. DEFENDANT GOLDEN and DEFENDANT BJORKMAN are two of
18
19 DEFENDANT GOVE’S top recruiters in his downline and represent a significant portion
20
      of DEFENDANT GOVE’S Revenue Share income.
21
22             237. Because DEFENDANT GOLDEN and DEFENDANT BJORKMAN were

23 two of DEFENDANT GOVE, DEFENDANT SANFORD, and DEFENDANT eXp
24
      REALTY’s top recruiters, they financially benefitted from the recruitment activities of
25
26 DEFENDANT GOLDEN and DEFENDANT BJORKMAN.
27
28
      20
           https://www.sec.gov/oiea/investor-alerts-bulletins/investor-alerts-ia-pyramid
                                                      62

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 1                                             Count I
                                    Violation of 18 U.S.C. § 1591
 2                                Against DEFENDANT GOLDEN
 3
            238. PLAINTIFF realleges paragraphs 1 to 237 as if fully set forth herein.
 4
 5          239. On two occasions in February, 2020, DEFENDANT GOLDEN and
 6
      DEFENDANT GOVE enticed Ms. Roberts to travel to Las Vegas, Nevada from Florida for
 7
 8 the purpose of attending an eXp recruiting event.
 9          240. While in Las Vegas, DEFENDANT GOLDEN made promises to Ms. Roberts
10
      that he would help her with her career, provide her with financial security, and take care of
11
12 her financially.
13
            241. DEFENDANT GOLDEN used those promises to engage Ms. Roberts into
14
15 committing sexual acts with him.
16          242. As part of his recruiting efforts, DEFENDANT GOLDEN continued to try to
17
      recruit Ms. Roberts into his downline so that he could receive a financial benefit from her
18
19 commissions and her downline’s commissions in the revenue share pyramid.
20
            243. At this time when DEFENDANT GOLDEN had approximately 800 agents in
21
22 his downline, Ms. Roberts was still an emerging influencer. Ms. Roberts hoped to increase
23 her agent count in order to reach the highest Influencer status at eXp REALTY, similar to
24
      DEFENDANT GOLDEN’s status.
25
26          244. On or around February 24, 2020, DEFENDANT GOLDEN traveled in
27
      interstate commerce to Florida for the stated purpose of assisting an eXp REALTY Agent
28
      host an eXp recruiting event.
                                                    63

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 1          245. DEFENDANT GOLDEN invited Ms. Roberts to attend the event which was
 2 held at the Hard Rock Hotel in Daytona, Florida.
 3
            246. DEFENDANT GOLDEN continued to pressure Ms. Roberts to select him as
 4
 5 her sponsoring agent so that he would receive a financial benefit from her agent count,
 6
      commissions, and her downline’s commissions in the Revenue Share pyramid.
 7
 8          247. DEFENDANT GOLDEN planned prior to the event to have GHB delivered to
 9 the Hard Rock Hotel.
10
            248. During this event, DEFENDANT GOLDEN used fraud to get Ms. Roberts to
11
12 take a substance that rendered her incapacitated for the purpose of engaging her in a sex act
13
      with him.
14
15          249. DEFENDANT GOLDEN committed a sexual act with Ms. Roberts without
16 her knowledge or consent due to her being incapacitated.
17
            250. Upon information and belief, DEFENDANT GOLDEN surreptitiously took
18
19 highly valuable videos and pictures of Ms. Roberts while she was drugged without her
20
      consent.
21
22                                           Count II
                                   Violation of 18 U.S.C. § 1591
23                              Against DEFENDANT BJORKMAN
24
            251. PLAINTIFF realleges paragraphs 1 to 250 as if fully set forth herein.
25
26          252. On or around February 24, 2020, DEFENDANT BJORKMAN traveled in
27
      interstate commerce to Florida for the stated purpose of assisting an eXp REALTY Agent
28
      host an eXp recruiting event.
                                                    64

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 1          253. DEFENDANT BJORKMAN knew that DEFENDANT GOLDEN invited Ms.
 2 Roberts to attend the event which was held at the Hard Rock Hotel in Daytona, Florida.
 3
            254. DEFENDANT BJORKMAN also knew that DEFENDANT GOLDEN
 4
 5 arranged to have a delivery of GHB made to their hotel for the purpose of drugging Ms.
 6
      Roberts so that they could both engage her in sex acts.
 7
 8          255. It was the practice of DEFENDANT GOLDEN that once he was able to
 9 convince an agent to select him as his sponsor, he would then convince the agent to instead
10
      name DEFENDANT BJORKMAN as the agent’s sponsor. By doing so, both
11
12 DEFENDANT GOLDEN and BJORKMAN would financially benefit; DEFENDANT
13
      GOLDEN would financially benefit because he made more money from agents that are
14
15 two instead of one tier beneath him; DEFENDANT BJORKMAN would financially
16 benefit because he would gain another agent in his downline.
17
            256. Though ultimately unsuccessful in getting Ms. Roberts to change her sponsor,
18
19 both DEFENDANT BJORKMAN and DEFENDANT GOLDEN fraudulently caused Ms.
20
      Roberts to engage in sexual contact for the purpose of using that relationship to get Ms.
21
22 Roberts to change her sponsor which would financially benefit both DEFENDANT
23 BJORKMAN and DEFENDANT GOLDEN.
24
                                             Count III
25              Participating in a Venture in Violation of 18 U.S.C. § 1595 Against
26                  DEFENDANTS EXP REALTY, SANFORD, AND GOVE
27
            257. PLAINTIFF realleges paragraphs 1 to 256 as if fully set forth herein.
28


                                                    65

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 1          258. DEFENDANT GOLDEN and DEFENDANT BJORKMAN are two of
 2 DEFENDANT eXp REALTY’s top recruiters, whereby DEFENDANT eXp REALTY,
 3
      DEFENDANT SANFORD, AND DEFENDANT GOVE share in the common purpose of
 4
 5 allowing DEFEDANT BJORKMAN and DEFENDANT GOLDEN to recruit by any
 6
      means necessary to secure and to maintain agents, and thus receive, a direct financial
 7
 8 benefit from DEFENDANT BJORKMAN and DEFENDANT GOLDEN’s recruitment of
 9 new agents into all of their common downline.
10
            259. DEFENDANT eXp REALTY, DEFENDANT SANFORD, and
11
12 DEFENDANT GOVE participated in a Venture with DEFENDANT GOLDEN and
13
      DEFENDANT BJORKMAN by promoting DEFENDANT BJORKMAN and
14
15 DEFENDANT GOLDEN’s recruitment efforts, which included luring agents to attend
16 recruitment events with promises of career advancement.
17
            260. DEFENDANT eXp REALTY, DEFENDANT SANFORD, AND
18
19 DEFENDANT GOVE received monetary gain from DEFENDANT BJORKMAN and
20
      DEFENDANT GOLDEN’s recruitment activities.
21
22          261. DEFENDANT eXp REALTY, DEFENDANT SANFORD, AND

23 DEFENDANT GOVE had the potential to benefit in a significant financial way from
24
      DEFENDANT GOLDEN’S attempt to have Ms. Roberts make him her sponsor.
25
26          262. DEFENDANT eXp REALTY, DEFENDANT SANFORD, AND
27
      DEFENDANT GOVE knew or should have known that DEFENDANT GOLDEN and
28
      DEFENDANT BJORKMAN used drugs to sexually assault eXp REALTY real estate
                                                    66

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 1 agents and prospective eXp REALTY real estate agents at eXp REALTY Recruitment
 2 Events.
 3
            263. After having actual knowledge of DEFENDANT BJORKMAN and
 4
 5 DEFENDANT GOLDEN’s illegal conduct, DEFENDANT eXp REALTY, DEFENDANT
 6
      SANFORD, AND DEFENDANT GOVE continued to endorse, to support and to promote
 7
 8 DEFENDANT GOLDEN’s and DEFENDANT BJORKMAN’s recruiting efforts as a
 9 means to continue receiving a financial benefit from DEFENDANT BJORKMAN and
10
      DEFENDANT GOLDEN’s activities.
11
12                                  Count IV
13
                                  Sexual Battery
         Against DEFENDANT BJORKMAN, DEFENDANT GOLDEN, DEFENDANT
14                     KEENAN; and DEFENDANT SHERRARD
15
            264. PLAINTIFF realleges paragraphs 1 to 263 as if fully set forth herein.
16
17          265. Through their conduct, DEFENDANT BJORKMAN, DEFENDANT
18 GOLDEN, DEFENDANT KEENAN, and DEFENDANT SHERRARD placed Ms.
19
      Roberts in a state of perpetual fear of imminent, unwanted, physical, and sexual contact.
20
21          266. Through conduct including, but not limited to, the conduct describing the
22
      sexual assault of Ms. Roberts, DEFENDANT BJORKMAN, DEFENDANT GOLDEN,
23
24 DEFENDANT KEENAN, and DEFENDANT SHERRARD intentionally and unlawfully
25 touched Ms. Roberts without her consent.
26
27
28


                                                    67

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 1          267. This unwanted and unlawful, sexual physical touching caused Ms. Roberts to
 2 suffer great anxiety about the possibility of further unwanted sexual touching and sexual
 3
      assault.
 4
 5          268. Ms. Roberts did not consent to any of the above-described contact.
 6
            269. As a result of DEFENDANT BJORKMAN, DEFENDANT GOLDEN,
 7
 8 DEFENDANT KEENAN, and DEFENDANT SHERRARD’S conduct, Ms. Roberts
 9 suffered legally compensable harm, including pain and suffering, loss of enjoyment of life,
10
      mental anguish, injury to reputation, humiliation, emotional distress damages, and costs of
11
12 medical treatment necessary to address the psychological damages caused by
13
      DEFENDANT BJORKMAN, DEFENDANT GOLDEN, DEFENDANT KEENAN, and
14
15 DEFENDANT SHERRARD’S conduct.
16                                      Count V
17                                    Civil Battery
                 Against DEFENDANT BJORKMAN, DEFENDANT GOLDEN, AND
18                                DEFENDANT KEENAN
19
            270. Ms. Roberts realleges paragraphs 1 to 269 as if fully set forth herein.
20
21          271. Through their conduct, DEFENDANT BJORKMAN, DEFENDANT
22
      GOLDEN, and DEFENDANT KEENAN intentionally drugged Ms. Roberts without her
23
24 knowledge or consent with the intent to harm/touch and did harm/touch Ms. Roberts.
25          272. By intentionally drugging Ms. Roberts, DEFENDANT BJORKMAN,
26
      DEFENDANT GOLDEN, and DEFENDANT KEENAN, caused Ms. Roberts to
27
28 unknowingly ingest a drug that would render her unable to provide consent to be touched.


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 1           273. DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT
 2 KEENAN all caused Ms. Roberts to suffer harm and offense through the unwanted
 3
      touching. DEFENDANT BJORKMAN, DEFENDANT GOLDEN, DEFENDANT
 4
 5 KEENAN’S actions in causing Ms. Roberts to consume a drug without her knowledge or
 6
      consent in order to be touched, would be offensive to a reasonable person.
 7
 8           274. As a direct and proximate result of DEFENDANT BJORKMAN,
 9 DEFENDANT GOLDEN, and DEFENDANT KEENAN’s actions, Ms. Roberts has
10
      suffered losses including, but not limited to, past and future medical expenses, loss of
11
12 income, pain and suffering, mental anguish, embarrassment, humiliation, and emotional
13
      distress.
14
15           275. In causing Ms. Roberts to consume a drug without her knowledge or consent,
16 DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT KEENAN
17
      acted intentionally, for an evil motive, and with reckless indifference Ms. Robert’s right to
18
19 be free from harmful or offensive contact. Accordingly, Ms. Roberts is entitled to punitive
20
      damages in addition to economic and noneconomic relief.
21
22                                      Count VI
                      Intentional Infliction of Emotional Distress
23     Against DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT
24                                      KEENAN
25           276. Ms. Roberts realleges paragraphs 1 to 275 as if fully set forth herein.
26
             277. DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT
27
28 KEENAN’s conduct toward Ms. Roberts was extreme and outrageous.


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 1          278. DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT
 2 KEENAN intentionally caused Ms. Roberts’ emotional distress by subjecting her to
 3
      forceful sexual touching and assault, and other actions taken with reckless disregard of
 4
 5 PLAINTIFF’s emotional well-being.
 6
            279. As a result of DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and
 7
 8 DEFENDANT KEENAN’s conduct, Ms. Roberts suffered legally compensable emotional
 9 distress, and is entitled to reimbursement for all costs associated with the treatment of the
10
      severe emotional distress inflicted by DEFENDANT BJORKMAN, DEFENDANT
11
12 GOLDEN, and DEFENDANT KEENAN.
13
            280. DEFENDANT BJORKMAN, DEFENDANT GOLDEN, and DEFENDANT
14
15 KEENAN’s conduct was a substantial factor in causing Ms. Roberts’s severe emotional
16 distress.
17
                                          Count VII
18                       Negligent Hiring, Retention, and Supervision
19             Against DEFENDANT eXp REALTY and DEFENDANT SANFORD
20
            281. Plaintiff realleges paragraphs 1 to 280 as if set forth fully herein.
21
22          282. DEFENDANT eXp REALTY and DEFENDANT SANFORD retained

23 DEFENDANT GOLDEN and DEFENDANT BJORKMAN.
24
            283. DEFENDANT GOLDEN and DEFENDANT BJORKMAN were under the
25
26 control of DEFENDANT eXp REALTY.
27
               a. Per the Independent Contractor Agreement (“ICA”) DEFENDANT GOLDEN
28
                   and DEFENDANT BJORKMAN were only allowed to work as “Real Estate

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1                Salesperson” or other such equivalent title as the state recognizes (i.e., broker,
2                qualifying broker, principal broker, licensee, etc.) exclusively for the
3                Company”. (emphasis added).
4             b. With respect to the Sale of Real Estate the Control of eXp included but was
5                not limited to the following: Duties set forth in the ICA related to the sale of
6                home which included listing properties for sale under the eXp Realty
7                brokerage brand, promptly uploading adding all listing contracts, purchase
8                contracts, leases, referrals and any other transaction documentation into the
9                transaction management system within two business days of execution date;
10               the solicitation and marketing necessary to generate new listings or generating
11
                 new buyers; such other services pertaining to the real estate business of the
12
                 Company; ensuring all fees, commissions or other compensation earned by
13
                 Contractor in connection with the sale, lease or rental of real estate and any
14
                 interest therein or service in relation thereto are made payable to the
15
                 Company.” If an Agent has not completed and closed three residential real
16
                 estate sales in the state they were licensed in prior to joining eXp they are
17
                 automatically enrolled in the eXp Mentor Program Agreement.
18
              c. DEFENDANT GOLDEN and DEFENDANT BJORKMAN were required to
19
                 use the eXp brand in their marketing and recruiting
20
                 efforts/emails/communications/branding.
21
22            d. With respect to the REVENUE SHARE PLAN, DEFENDAND GOLDEN

23               and DEFENDANT BJORKMAN were required to follow The Revenue Share
24               Plan guidelines are attached to the ICA and required to be executed and
25               acknowledged by all Agents.
26            e. DEFENDANT GOLDEN and DEFENDANT BJORKMAN in their
27               employment were required to follow a set of policies in their retention of
28               prospective agents and their ultimate retention. These included, but were not


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 1               limited to the requirement of a potential new agent to sign an “ICA” with their
 2               name listed as the Sponsor; the inability for sponsor change without 100
 3               percent agreement of all agents in an upline and the requirement for each
 4               agent to pay an on-time fee of $1,000 to facilitate a change of sponsorship;
 5               Monthly fees which included: sign-up Fees, Technology Fee, eXp University
 6               Tuition, Broker Review Fee, Risk Management Fee, Transaction Fee,
 7               Revenue Share Participation Fee.
 8            f. DEFENDANT GOLDEN and DEFENDANT BJORKMAN, like other agents
 9               were automatically enrolled in the eXp Revenue Share Plan, Per Addendum B
10               in the eXp Revenue Share Plan.
11
              g. DEFENDANT GOLDEN and DEFENDANT BJORKMAN, like other agents
12
                 were required to sign the Agent Equity Program Participation Election Form
13
                 allowing eXp World Holdings, Inc. to issue shares at their discretion of the
14
                 restricted common stock to the Company’s agents and brokers.
15
              h. DEFENDANT GOLDEN and DEFENDANT BJORKMAN (include section
16
                 on insurance requirements)
17
           284. DEFENDANT GOLDEN and DEFENDANT BJORKMAN had the
18
19 opportunity for profit and loss depending on their managerial skill.
20
              i. DEFENDANT GOLDEN and DEFENDANT BJORKMAN increased profit
21
                 based on their role as “Apex Agents”
22
              j. Being an “Apex Agent” means being successful in recruiting new agents that
23
                 they enticed based on their flashy recruiting efforts.
24
           285. eXp could terminate DEFENDANT GOLDEN and DEFENDANT
25
26 BJORKMAN at will per their ICA.
27
              k. The “ICA” indicates that there was the potential for “significant financial loss.
28
              l. “Significant financial loss” is defined to include but not be limited to pending

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 1                 transactions, revenue share and stock awards.”
 2          286. DEFENDANT GOLDEN and DEFENDANT BJORKMAN were required to
 3
      be licensed Real Estate Agents, but no special skill was required in the recruitment aspect
 4
 5
      of the multi-level-marketing aspect.

 6          287. The services rendered by DEFENDANT GOLDEN and DEFENDANT
 7
      BJORKMAN as “Alpha agents” was integral to the eXp business model as discussed
 8
 9 supra. Without this role, eXp, and its multi-level marketing model fails.
10          288. DEFENDANT GOLDEN and DEFENDANT BJORKMAN were unfit to
11
      perform the work for which they were retained.
12
13          289. DEFENDANT eXp REALTY and DEFENDANT SANFORD knew or should
14
      have known that DEFENDANT GOLDEN and DEFENDANT BJORKMAN were and/or
15
16 became unfit and that this unfitness created a particular risk to others. These
17 DEFENDANTS knew of each other well before their employment of DEFENDANT eXp
18
      REALTY, as such they knew of should have known about DEFENDANT BJORKMAN
19
20 and DEFENDANT GOLDEN’s behavior prior to hiring. (DEFENDANT SANFORD,
21
      DEFENDANT GOVE and DEFENDANT GOLDEN all knew each other from Keller
22
23 Williams and DEFENDANT GOLDEN knew DEFENDANT BJORKMAN from the Real
24 Estate Owned market).
25
            290. DEFENDANT GOLDEN and DEFENDANT BJORKMAN’s unfitness
26
27 harmed Ms. Roberts; and
28


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 1           291. DEFENDANT eXp REALTY and DEFENDANT SANFORD’s negligence in
 2 hiring/supervising/and retaining DEFENDANT GOLDEN and DEFENDANT
 3
      BJORKMAN was a substantial factor in causing Ms. Roberts’ harm.
 4
 5
 6                                         COUNT VIII
                                    TORTIOUS INTERFERENCE
 7                                    Against Defendant Gove
 8
             292. Plaintiff realleges paragraphs 1 to 291 as if set forth fully herein.
 9
10           293. On January 6, 2021, Eugene Crocket signed an ICA to join eXp Realty and
11
      named Ms. Roberts as his Sponsor Agent.
12
13
             294. DEFENDANT GOVE knew of the contract.

14           295. Euguene Crocket is Ms. Roberts most prolific recruiter and is the primary
15
      source of her Revenue Share Income.
16
17           296. Upon information and belief, in an attempt to harm Ms. Roberts,
18 DEFENDANT GOVE began sending communications to Mr. Crocket that implied Ms.
19
      Roberts is a liar.
20
21           297. DEFENDANT GOVE conduct made the performance of the contract more
22
      difficult.
23
24           298. DEFENDANT GOVE intended or knew that the performance of this contact
25 would be more difficult due to his actions.
26
             299. As a result, Ms. Roberts was emotionally harmed as was her relationship with
27
28 Mr. Crocket.


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 1          300. DEFENDANT GOVE’s conduct was a substantial factor in causing Ms.
 2 Roberts’ harm.
 3
 4
                                      REQUEST FOR RELIEF
 5
 6          WHEREFORE, PLAINTIFF prays for the following relief against Defendants:
 7
            1.     For past, present, and future general damages in an amount to be determined
 8
 9 at trial;
10          2.     For past, present, and future special damages, including but not limited to
11
      past, present and future lost earnings, economic damages, and others in an amount to be
12
13 determined at trial;
14
            3.     For interest as allowed by law;
15
16          4.     For civil penalties as provided by law;

17          5.     For any applicable costs of said suit;
18
            6.     For any appropriate punitive or exemplary damages; and
19
20          7.     For such other and further relief as the Court may deem proper. The amount
21
      of damages sought in this Complaint exceeds the jurisdictional limits of this Court.
22
23
                                    DEMAND FOR JURY TRIAL

24
            Pursuant to Rule 38 of the Federal Rules of Civil Procedure, PLAINTIFF demands a
25
26 trial by a jury on all of the triable issues of this Complaint.
27 Dated: June 13, 2024
28


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1                                           Respectfully submitted,
2                                           by: LENZE LAWYERS, PLC
3
                                              /s/ Jennifer A. Lenze____
4
                                              Jennifer A. Lenze, Esq.
5
6                                             COHEN HIRSCH, LP
                                              Brooke F. Cohen, Esq.
7                                             Andrea S. Hirsch, Esq.
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9                                             Attorneys for PLAINTIFF
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